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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION


CENTER FOR BIOLOGICAL
                                            Case No. ________________
DIVERSITY, TAMPA BAY
WATERKEEPER, SUNCOAST
WATERKEEPER, MANASOTA-88, and               EXHIBIT A
OUR CHILDREN’S EARTH
FOUNDATION,                                 TO

        Plaintiffs,                         COMPLAINT FOR DECLARATORY
                                            AND INJUNCTIVE RELIEF
       v.
GOVERNOR RON DeSANTIS,                     Plaintiffs’ May 17, 2021 Notice of Intent to Sue
and
SHAWN HAMILTON, in his official
capacity as ACTING SECRETARY,
FLORIDA DEPARTMENT OF
ENVIRONMENTAL PROTECTION,
and
HRK HOLDINGS, LLC,
and
MANATEE COUNTY PORT
AUTHORITY,
        Defendants.
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                       Law Offices of Charles M. Tebbutt, P.C.
                                941 Lawrence Street
                                 Eugene, OR 97401
                        Ph: 541-344-3505 Fax: 541-344-3516
                                                                                   May 17, 2021


  THIS IS AN URGENT LEGAL MATTER REQUIRING YOUR
                IMMEDIATE ATTENTION
Via Registered Mail, Return Receipt Requested:

 Governor Ron DeSantis           Noah Valenstein, Secretary        Manatee County Port
 Office of Governor Ron          Florida Department of             Authority
 DeSantis                        Environmental Protection          300 Tampa Bay Way
 State of Florida                3900 Commonwealth                 Palmetto, FL 34221
 The Capitol                     Boulevard M.S. 49
 400 S. Monroe St.               Tallahassee, FL 32399
 Tallahassee, FL 32399-0001

 HRK Holdings, LLC               Site Manager
 Registered Agent: Jeffrey       Eastport Development and
 Barath                          Piney Point Complex
 13500 Scale Ave.                13300 Highway 41 N
 Palmetto, FL 34221              Palmetto, FL 34221

Via Certified Mail, Return Receipt Requested:

 Deb Haaland, Secretary of the Interior             Martha Williams, Acting Director
 U.S. Department of the Interior                    U.S. Fish and Wildlife Service
 1849 C Street, N.W.                                1849 C Street, N.W.
 Washington, D.C. 20240                             Washington, D.C. 20240
 doiexecsec@ios.doi.gov                             Martha_Williams@fws.gov

 Gina Raimondo, Secretary                           Dr. Paul Doremus, Acting Assistant
 U.S. Department of Commerce                        Administrator
 1401 Constitution Ave., N.W.                       NOAA Fisheries
 Washington, D.C. 20230                             1315 East-West Highway
 graimondo@doc.gov                                  Silver Springs, M.D. 20901
                                                    Paul.Doremus@noaa.gov

Other recipients identified on signature page




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 NOTICE OF INTENT TO SUE PURSUANT TO THE RESOURCE CONSERVATION
    AND RECOVERY ACT, 42 U.S.C. § 6972(a)(1)(B); THE FEDERAL WATER
     POLLUTION CONTROL ACT, 33 U.S.C. § 1365(a)(1); & THE FEDERAL
            ENDANGERED SPECIES ACT, 16 U.S.C. § 1540(g)(1)(A)

Dear Governor DeSantis, Secretary Valenstein, Manatee County Port Authority, Mr. Barath,
Eastport Development and Piney Point Complex Site Manager, Sec. Haaland, Acting Director
Williams, Sec. Raimondo, and Acting Assistant Admin. Doremus:

        Pursuant to the citizen suit provisions of the 1976 Amendments to the Solid Waste
Disposal Act (hereinafter referred to as the “Resource Conservation and Recovery Act” or
“RCRA”), 42 U.S.C. § 6972(a)(1)(A) & (B); the citizen suit provision of the Federal Water
Pollution Control Act, 33 U.S.C. § 1365(a)(1)(A) (hereinafter the “Clean Water Act” or
“CWA”); and the citizen suit provision of the Federal Endangered Species Act, 16 U.S.C. §
1540(g)(1)(A) (hereinafter the “Endangered Species Act” or “ESA”), the Center for Biological
Diversity, Tampa Bay Waterkeeper, Suncoast Waterkeeper, ManaSota-88, and Our Children’s
Earth Foundation (collectively referred to hereinafter as the “Notifying Parties”) hereby notify
you that on or after the 90th day from the date of your receipt of this notice for the RCRA claims
identified herein, on or after the 60th date from the date this notice was mailed for the CWA
claims identified herein, and on or after the 60th date from the date this notice was mailed for the
ESA claims identified herein, Notifying Parties intend to initiate a citizen suit in the United
States District Court for the Middle District of Florida or another court of competent jurisdiction
against you concerning the open dumping and imminent and substantial endangerment threat to
human health and the environment in violation of RCRA, unlawful discharges of pollutants to
navigable waters in violation of the CWA, and the illegal ongoing “take” of threatened and
endangered species, all occurring at the former Piney Point Phosphate facility, located at 13300
Highway 41 North, Palmetto, FL 34221 (hereinafter “Piney Point”).

        Furthermore, Notifying Parties hereby inform you that they will immediately initiate a
citizen suit against you pursuant to RCRA, 42 U.S.C. § 6972(a)(1)(B) and 42 U.S.C.
§ 6972(b)(2)(A), which authorizes such immediate suit “after such notification in the case of an
action under this section respecting a violation of subchapter III of this chapter.” In particular,
and as described below, the comingling and intermixing of dredged material from the Port
Manatee Berth 12 expansion and precipitation falling at the site, with the process wastewater and
phosphogypsum stacks located beneath the High Density Polyethylene (“HDPE”) liners at Piney
Point, has created a toxic waste and/or leachate that satisfies all regulatory requirements for
being deemed a hazardous waste. The Piney Point impoundments and wastewater infrastructure
are not compliant with any of the requirements under RCRA subchapter III (also known as
RCRA Subtitle C) for hazardous waste storage, treatment, and disposal facilities. See generally
42 U.S.C. § 6924; 40 C.F.R. Part 264 (“Standards for Owners and Operators of Hazardous Waste
Treatment, Storage, and Disposal Facilities.”). Consequently, you are subject to an RCRA
immediate lawsuit following your receipt of this notice letter.

       For reference, Figure 1 below is aerial imagery of the Piney Point Site:




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Figure 2 below depicts Piney Point’s water management features as they existed in 2010
(excerpted from FDEP File No. FL0000124-003-AA):




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                                       BACKGROUND

I.     Introduction

        Piney Point was a phosphate fertilizer plant owned and operated by multiple different
corporations from 1966 until operations ceased in 1999. Historically, Piney Point consisted of an
acid plant, a phosphoric acid plant, an ammoniated phosphate fertilizer plant with storage for
ammonia, phosphoric acid, and other products necessary for the manufacture of fertilizer, and
related facilities. All were located within an approximately 670-acre parcel of land.

        Phosphoric acid production involves the use of acidic solutions to separate phosphorus
from phosphate-containing rock. The resulting waste is phosphogypsum. Phosphogypsum is
watery when it is first stored, but over time it dries, and a crust forms over the top, forming
“stacks.” At Piney Point, this toxic waste was formed into large stacks which rose as high as 70-
80 feet and encompassed 457 acres.

        Phosphogypsum is radioactive and can contain uranium, thorium, and radium. Over time,
uranium and thorium decay into radium, and radium subsequently decays further into radioactive
radon, the second-leading cause of lung cancer in the United States. Radium-226, found in
phosphogypsum, has a 1,600-year radioactive decay half-life. In addition to high concentrations
of radioactive materials, phosphogypsum and associated process wastewater can contain
carcinogens and heavy toxic metals like antimony, arsenic, barium, cadmium, chromium, copper,
fluoride, lead, mercury, nickel, silver, sulfur, thallium and zinc.

        While commercial operations were underway at Piney Point, precipitation falling onto the
site was consumed by the phosphate fertilizer operation. That precipitation, in addition to water
used directly in the manufacturing process, is called “process wastewater.” Process wastewater is
highly acidic and can contain heavy metals such as arsenic, cadmium, chromium, and fluoride, in
addition to high levels of nutrients, nitrogen, and dissolved solids. Like the phosphogypsum
stacks, process wastewater is also radioactive.

II.    FDEP Assumes Ownership and Control of Piney Point

        Piney Point Phosphates, Inc., a wholly-owned subsidiary of Mulberry Corporation, was
the owner and operator of Piney Point in 2001. In February 2001, Mulberry Corporation filed for
bankruptcy and provided Florida State officials with 48 hours’ notice that it was abandoning the
property. The property’s ownership and operation then passed to the Florida Department of
Environmental Protection (“FDEP”) through a court-ordered receivership, also in February 2001.
When operations ceased, all precipitation falling onto the site required detention because of its
contact with process wastewater. Between February 2001 and February 2004, FDEP discharged
approximately 1.1 billion gallons of precipitation and process wastewater from Piney Point into
Tampa Bay and Bishop Harbor.

        In 2001, FDEP asked the Circuit Court in Manatee County, Florida to appoint a receiver
to manage the site for and on behalf of FDEP. FDEP, through its receiver, retained contractors to
investigate the site and propose a means of handling the wastewater and dealing with the existing



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phosphogypsum stacks. As part of that investigation, FDEP determined that closure of the site
was required. FDEP decided to institute a closure plan involving the placement of HDPE single
liners over the existing phosphogypsum stacks and associated cooling ponds. Importantly, this
closure plan was not compliant with any aspect of RCRA Subtitle C, pertaining to hazardous
waste treatment, storage, and disposal requirements. See generally 42 U.S.C. § 6924; 40 C.F.R.
Part 264. This is because phosphogypsum stacks and related process wastewater are exempt from
RCRA’s hazardous waste regulations pursuant to the “Bevill” amendment. 40 C.F.R.
§ 261.4(b)(7)(D). This exemption is vitiated, however, when solid wastes comingle, creating a
waste and/or leachate that itself satisfies the regulatory definition of hazardous waste.

        Between 2001 and 2004, FDEP worked with a series of contractors at Piney Point with
the goal of implementing its closure plan at the site. This included converting the existing
phosphogypsum stacks into reservoirs capable of storing precipitation that fell onto the site. To
achieve this goal, FDEP hired Ardaman & Associates, Inc. (“Ardaman”) and Comanco
Environmental Corporation (“Comanco”) to engineer and install HDPE liners over the
phosphogypsum stacks. Through that process, FDEP installed approximately 2,593,000 square
feet of HDPE liner at the “New Gypsum Stack-North” or “NGS-N” stack and at the two other
stacks existing at the facility at this time – the “Old Gypsum Stack South,” and “Old Gypsum
Stack North.”1 Additionally in 2001, FDEP discharged approximately 50 million gallons of
wastewater into Bishop’s Harbor as part of its plan to dewater the stack impoundments.

III.    HRK Purchased Piney Point, Subject to FDEP’s Authority & Closure Plan

        FDEP was the real property owner of the site until August 2006 when HRK Holdings
LLC (“HRK”) purchased Piney Point in connection with the Mulberry Corporation’s bankruptcy
proceeding. As part of that purchase, FDEP and HRK entered into an Administrative Agreement,
FDEP OGC No. 06-1685. In that Agreement, HRK agreed that FDEP would continue to work
with its contractors – Ardaman, Comanco, and CDM Constructors, Inc. (“CDM”) – to complete
FDEP’s closure plans and to address the “imminent hazard related to the Phosphogypsum Stack
System[.]” That Agreement states that FDEP’s contractors “prepared conceptual closure plans
for the entire Phosphogypsum Stack System at the Site and detailed plans and specifications for
specific portions of” the site, and makes clear that “HRK had no role in the development of the
design, drawings, specifications, and phased Closure construction of the entire Phosphogypsum
Stack System” by Ardaman and CDM Constructors, Inc. Indeed, pursuant to that Agreement,
“HRK was not an owner or operator of the Phosphogypsum Stack System or any other part or
component at or on the Site, nor was HRK a generator of any Solid Waste or Hazardous
Substances at or on the Site.” HRK was required in the Agreement to allow FDEP and its
contractors access to complete FDEP’s closure plan at the site, and agreed that FDEP “shall
continue to exercise regulatory control” over the closure and “any post-closure activities at the

1
  Notifying Parties presently understand that the phosphogypsum stacks stored at Piney Point are located in the
“New North Gypstack” or “NGS-N” and the “New South Gypstack,” or “NGS-S.” Both “gypstacks” are single-lined
with an 80-mil HDPE liner. Piney Point also presently includes a lined process water sump pond, denoted as
“LPWS,” and two “closed gypstack” areas. Seepage from the NGS-N and NGS-S is intended to be captured by
seepage collection systems, which all convene into one well. That well is then pumped into the LPWS. When the
storage volume in the LPWS is insufficient, a pumping system pumps collected seepage and wastewater from the
LPWS into either the NGS-N or NGS-S. The total volume of contaminated wastewater in the three pond structures –
the LPWS, NGS-N, and NGS-S – is approximately 600,000,000 gallons.


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Site…such as the final cover, liners, monitoring system and process water management and
stormwater controls.”

IV.    FDEP Approves Use of Piney Point for Dredged Material Storage

        In 2005, as part of Phase III of the Manatee Harbor Navigation Project, the Manatee
County Port Authority (the “MCPA” or “Port Manatee”) began exploring plans to create a
deepwater berth suitable for use by large shipping vessels and to reduce vessel congestion within
the Port Manatee. The MCPA developed a plan to create an access channel to a new berthing
area. The project involved impacts to 11.92 acres of shallow bay bottoms, primarily caused by
dredging, and was expected to produce 1,170,000 cubic yards of dredged material. Additional
annual maintenance dredging was anticipated to produce 300,000 cubic yards of dredged
material. Overall, the MCPA determined it needed a disposal area sufficient to handle 3,220,000
cubic yards of material over a twenty-year maintenance period. The MCPA itself had no suitable
locations in which to store this large quantity of dredged material.

        The MCPA thereafter developed a plan involving the pumping of dredged materials from
the Port expansion into Piney Point’s HDPE-lined impoundments, which overlay the preexisting
phosphogypsum stacks. FDEP approved the permit necessary for MCPA to begin the dredging
process in Environmental Resource Permit No. 0129291-0090-EM, as modified by FDEP.
Shortly thereafter MCPA began negotiations with HRK and entered into a “Dredged Materials
Containment Agreement” or “DMCA” with HRK on April 19, 2007. The DMCA specifically
identified the Administrative Agreement between HRK and FDEP and noted that performance of
the obligations under the MCPA “shall be of material benefit to [FDEP], and as a result of said
material benefit, the severance fee for dredging material from sovereignty submerged lands
should be eliminated or waived by [FDEP].” Within six months of execution of the DMCA,
FDEP did indeed waive the aforementioned severance fee.

        FDEP and HRK subsequently entered into the First Amendment to the Administrative
Agreement (hereinafter “Amended Agreement”) on August 20, 2007. The Amended Agreement
stated that, since HRK’s purchase of Piney Point, FDEP “has continued to conduct [c]losure
work and related tasks at the Site[.]” FDEP represented that “storage of dredged materials” to be
generated by MCPA would be “compatible with the design and purpose of the lined reservoirs
constructed by the Department[,]” and would “be of benefit to the Department.” As such, FDEP
agreed in the Amended Agreement “to establish a process for [FDEP] review of plans for work
under the DMCA[.]” In fact, FDEP specifically agreed that:

       Work to be performed by HRK and MCPA, respectively, under the DMCA in
       accordance with the conditions specified by this Amendment constitutes a use
       which is compatible with the design and purpose of the lined reservoirs
       constructed by [FDEP] and others at the existing Phosphogypsum Stack System
       and with the ongoing Closure of the Phosphogypsum Stack System at the Site
       conducted by [FDEP] as well as constituting a beneficial use of the Site which is
       in the public interest.




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FDEP stipulated in the Amended Agreement not to place a protective soil cover over the three
impoundments to be initially used for dredged material storage: the OGS-N, OGS-S, and NGS-S
(defined as the “lined DMCA Reservoir Compartments”). These impoundments would instead be
used for the storage of dredged material from MCPA. FDEP specifically retained the right to
“freely utilize” the NGS-N “for storage and management of process water[.]” FDEP further
agreed that:

       Placement of dredged materials that does not adversely affect the integrity of the
       environmental protection measures and that does not interfere with the work to be
       performed by [FDEP] under Section III of the Agreement shall constitute a use
       that is compatible with the design and purpose of the lined reservoirs constructed
       by [FDEP] and others as part of the Closure of the Phosphogypsum Stacks at the
       Site.

         Furthermore, FDEP certified that the Amendment “constitutes [FDEP’s] written
determination and authorization under the [original Administrative] Agreement that the
containment and storage of dredged materials within the lined DMCA Reservoir Compartments
along with such transport of dredged materials and resulting decant water upon and across the
Site is a compatible use of the Site consistent with [FDEP’s] finding” that placement of the
dredged materials constitutes “a beneficial use of the Site which is in the public interest.” The
Amended Agreement also carried forward HRK’s requirement to seek review and approval from
FDEP for work which could impact the phosphogypsum stacks.

        Part of the original agreement and Amended Agreement was the requirement that HRK
provides $2.5 million to an account for the long-term operation and maintenance of the
wastewater impoundment. Importantly, FDEP has oversight and approves all expenditures from
that account.

V.     FDEP and MCPA Warned by Army Corps Not To Use Piney Point for Dredge
       Disposal Containment

       In August 2008, the Army Corps of Engineers (“Corps”) issued its “Draft Phase IIII
General Revaluation Report and Environmental Assessment Addendum” (the “Report”). That
Report explicitly warned FDEP and MCPA not to use the Piney Point site for disposal of
dredged materials from the Port Manatee expansion. In particular, the Report stated that:

       The Corps of Engineers would need to perform analyses to determine if the
       disposal facility meets the design and construction criteria established in Corps of
       Engineers guidance such as EM 1110-2-5027 and others as appropriate. In the
       case of the Piney Point site, there is a heightened level of concern with regard to
       the integrity of the gypsum stack which forms the foundation of the dredged
       material handling facility. The heightened level of concern follows from the
       following considerations:

           • The gypsum stack itself is not an engineered structure. There are no design
           plans and specifications, nor as built drawings, nor construction



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            documentation to support the assertion of structural integrity of the stack for
            the purpose of supporting a material handling facility to be constructed on top
            of the stack.

            • The gypsum stack itself contains hazardous and toxic material.

            • There is documentation of past slope stability and piping issues experienced
            at the site.

        The local sponsor, the site owner, and the State of Florida Department of
        Environmental Protection (DEP) have supplied data and have asserted that the site
        is approved for the use intended. However, the Corps of Engineers has found the
        data to be inconclusive.

         The Corps described that “the worst case scenario for Piney Point being used as dredged
 material disposal facility would be a breach in the liner. Such a breach would allow water to
 saturate and cause a failure to the gypsum stack, enabling the mixing of large volumes of
 dredged material with large volumes of phosphogypsum.” Not only would this have dire
 environmental consequences, but it also nullifies the phosphogypsum stacks’ legal exemption
 from the definition of hazardous waste under RCRA and makes the dredged spoils subject to
 RCRA as both a solid waste and a hazardous waste. As the Corps described:

        Water from rain and the placement of dredged slurry could percolate into [the]
        phosphogypsum stack releasing a leachate that could be corrosive and toxic. If
        leachate meets the characteristics according to 40 CFR 261.22 and 40 CFR
        261.24, then the leachate would be designated as hazardous waste. Then the
        mixture of a solid waste, with hazardous waste is considered a hazardous waste.
        The addition of dredged material to a hazardous waste will increase the
        probability of contaminating the surrounding surface and groundwater.

 Consequently, the Corps could not recommend approval of the plan in 2008. Instead, the Corps
 required FDEP to certify “Piney Point as a Dredged Material Disposal Site,” to provide adequate
 documentation of the arrangements for use of Piney Point to store the dredged materials, and for
 extensive testing to ensure “that there is no hazardous material that will enter the site.”

 VI.    FDEP And MCPA Ignore Corps’ Warning and FDEP Approves Piney Point for
        Storage of Dredged Materials, Despite Prior Knowledge that Single HDPE Liners at
        Similar Phosphogypsum Stacks were Failing

         Undeterred by the Corps’ warning, FDEP and the MCPA continued to advance their
 preferred solution of storing dredged material at Piney Point. FDEP, through its contractor
 Ardaman, prepared a report in response to the Corps’ warning, arguing that the Piney Point site
 was indeed suitable for storing such a vast quantity of material.

         The Corps thereafter asked FDEP to prepare a risk assessment of potential failure modes,
 and for FDEP to evaluate the probability or likelihood of such failure modes. FDEP instructed its



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 contractor, Ardaman, to prepare that risk assessment. In that risk assessment, Ardaman identified
 that the probability of an existing liner leak as essentially zero, although it acknowledged that a
 risk existed that the liner could be breached.

         The Ardaman risk assessment was prepared in July 2009. Days after its completion,
 Ardaman investigated a liner leak at another closed phosphogypsum stack in Florida, the Plant
 City Phosphate Complex. Ardaman and CDM were the engineers that designed and implemented
 the closure plans for the Plant City complex. Ardaman investigated leaks in the liner, which was
 also an 80-mil HDPE single liner installed over existing phosphogypsum stacks. The HDPE liner
 was significantly compromised in numerous ways: there were large fissures and cracks in the
 phosphogypsum subsurface, which forms the foundation of the liner system; the liner showed
 numerous large tears and punctures; and the liner evidenced both linear tears and tears associated
 conventional wind ballast anchor trenches.

        Ardaman informed FDEP through formal reports and meetings that a plan of action was
 necessary at the site to quickly remediate the failing 80-mil HDPE liner.

         In fact, in November 2001, Ardaman prepared a Geotechnical Study at FDEP’s direction
 for Piney Point and identified three whirlpools located in the NGS-N. It stated those whirlpools
 were examples of a well-developed system of interconnected cracks in the subsurface, which can
 create concentrated flows and/or preferential pathways in the foundational soils. The Study
 further found that:

        1.      As many as sixteen drilling fluid circulation loss zones were encountered
        in 10 out of 27 Standard Penetration Test (SPT) borings. The losses typically
        occurred within foundation sands, gypsum, and at the contact between gypsum
        and soil. Fluid losses are likely indicative of a network of vertical and horizontal
        open planes and fissures resulting from desiccation and differential settlement of
        gypsum, and historic piping of more erodible soils at the gypsum/soil interface.

        2.       Our evaluation of the potential mechanisms for piping or internal erosion
        of foundation soils beneath the stack and pond system based on historic
        performance, analytical methods, and a review of borehole and piezometric data,
        lead us to the opinion that the risk of piping failure resulting from concentrated
        seepage following fissures or cracks within the gypsum fill and along the gypsum
        fill/soil interface is high.

        3.      Three whirlpools observed during the third week of September 2001 in the
        north compartment of the new gypsum stack are examples supporting the
        mechanism of a well-developed system of interconnected cracks leading to a
        concentrated flow into existing natural and man-made outlets in the foundation
        soil. The trigger for the increased discharge from the north compartment of the
        new gypsum stack resulted from a sudden rise in pond water level associated with
        tropical storm Gabrielle. The leakage from the compartment caused its water level
        to drop by as much as 0.9 feet in three days.




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 The Study concluded that there were two likely failure modes for the phosphogypsum stack
 dikes. The first is a “foundation piping failure leading to backward erosion of a tunnel at the
 interface of gypsum and natural foundation soil, and finally connecting to a vertical crack system
 that lies in proximity of the intersection of the inner dike and pond…[t]he highest likelihood of a
 piping failure of the gypsum stack system is along the north and east sides of the NGS.” The
 second mode of failure “is a blowout of the outer face of the lower part of the stack slope due to
 a buildup of high hydrostatic pressure caused by short circuiting of the pond to a small cavity
 that has eroded below the outer toe…[t]he most likely place for this type of failure is where
 strong spring flows are established such as near the southeast corner of the NSGS.”

          Thus, despite having prior knowledge that the Piney Point gypsum stacks were already at
 risk of failure due to settling of the gypsum stacks and foundational soils, and despite having
 prior knowledge that single HDPE liners at similar phosphogypsum stacks were failing – both at
 the Plant City complex and elsewhere throughout the State – FDEP wrote to the Corps on April
 8, 2010, explaining its support of the proposed use of the Piney Point phosphogypsum stacks for
 storage and disposal of the dredged material from the Port Manatee berth expansion. Two days
 later, the Corps responded, noting that Engineer Regulation 1165-2-132, “Hazardous Toxic
 Radioactive Waste for Civil Works Projects,” specifically directed that construction in such areas
 should be avoided where practicable. The Corps therefore reaffirmed its position that the use of
 Piney Point for disposal carries unnecessary risks to the public and the environment.

        FDEP continued to ignore the Corps’ warnings, and as a result, the Corps requested, and
 FDEP provided, a formal covenant not to sue relative to the use of the closed Piney Point
 phosphogypsum stacks for storage and disposal of dredged material. The Corps also required
 assurances from FDEP that the Corps would not be considered a potentially responsible party for
 purposes of environmental clean-up in the event of a leak or discharge at Piney Point.

         FDEP thereafter officially approved the beneficial use of Piney Point for storage and
 disposal of the dredged materials, with full knowledge ahead of time that such approval posed
 significant environmental and health risks.

 VII.   FDEP Requires Emergency Measures to Mitigate Damage Resulting from the
        Compromised Piney Point Phosphogypsum Stacks and HDPE Liner

         In February 2011, as the Piney Point site was being prepared for the dredging and
 disposal operations, a crane collapsed and punctured the HDPE liner in the NGS-S. FDEP’s
 contractor, Ardaman, drained the NGS-S and visually inspected the floor of the liner.
 Approximately 150 feet from the location where the crane impacted the liner, Ardaman
 discovered a breach in the liner six inches in length, located along an extruded ballast trench
 seam. Beneath the liner breach, there was a “solution cavity” four feet in diameter and at least
 four feet deep. While the liner was repaired at the time, FDEP knew or should have known in the
 exercise of reasonable care and due diligence that this breach was evidence that the single HDPE
 liner and gypsum subsurface presented serious integrity concerns (as it was told by Ardaman in
 November 2001).




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         FDEP eventually approved all the remaining necessary state permits for MCPA to begin
 the dredging project, and the dredging of the expansion began on April 22, 2011.

         Just weeks later, as the dredging process was continuing and wastes were being disposed
 of at Piney Point, HRK reported to FDEP increased flows, conductivity, and chloride
 concentrations in the buried drains based on monitoring that was required specifically for the
 approved dredge disposal operations at the site. On May 29, 2011, FDEP issued an Emergency
 Final Order (EFO No. 11-0813) that ordered HRK to take actions to help prevent the collapse of
 the phosphogypsum stack system and its impoundments, and authorized controlled emergency
 discharges as needed to protect the integrity of the stack system or its impoundments and protect
 waters of the state.

         On June 4, 2011, dredging operations were directed to be fully suspended by FDEP based
 on continued changes in site conditions. Specifically, decreasing water levels in the NGS-S
 indicated a leak of at least 12,000 gallons per minute. On June 6, 2011, a strong vortex was
 identified near the water’s edge in the southwest corner of the NGS-S, similar to what FDEP’s
 contractor, Ardaman, identified and disclosed to FDEP nearly a decade prior in the NGS-N in the
 2001 Geotechnical Study. Attempts to repair the liner hole were unsuccessful and, consequently,
 the flow rate increased to 35,000 gallons per minute. This created another vortex by the toe of
 the slope of the impoundment, meaning the pressure being exerted on the gypsum walls of the
 impoundment threatened catastrophic failure.

         As such, on June 7, 2011, FDEP required HRK to perform a controlled breach to the
 NGS-S, specifically an area identified as the “OGS-S stormwater ditch and dike system,” to
 relieve stack pressures onsite, and to prevent an uncontrolled loss of containment from the stack
 system to offsite property and Buckeye Road, located south of Piney Point. Emergency
 discharges were performed by HRK as required by FDEP in its Emergency Final Order until
 June 16, 2011.

         All told, FDEP required HRK to discharge 169 million gallons of wastewater, consisting
 of dredged seawater mixed with process wastewater. Following this event, FDEP and Ardaman
 inspected the liner at the NGS-S and identified 29 stress cracks in the liner. In October 2011, an
 additional five stress cracks in the liner of the NGS-S were identified and disclosed to FDEP.
 Ardaman eventually concluded that a tear at the edge of the extrusion weld in the southwest
 corner of the NGS-S propagated, and the leakage found its way through preexisting preferential
 flow paths at the base of the reservoir into the foundation sand and/or earthen starter dike 12-15
 feet below, inducing erosion of the sandy soils under the elevated hydraulic head in the reservoir
 – the exact same situation Ardaman identified and disclosed to FDEP back in November, 2001 in
 its Geotechnical Study.

         HRK completed grouting and repair operations to the phosphogypsum stack system and
 its impoundments by July 19, 2011, and the dredging project was allowed to resume in July. The
 dredging project was completed on October 21, 2011. HRK filed for bankruptcy on June 27,
 2012, after the Port Manatee expansion and dredging project was complete. Beginning in August
 2012, HRK transferred 72-107 MG of process water from NGS-N to NGS-S, followed by
 subsequent smaller transfers. HRK emerged from bankruptcy March 20, 2017.



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         On or about March 13, 2020, an engineering firm hired by HRK again warned FDEP of
 serious problems with the integrity of the site and its HDPE liner. Glen Anderson, an engineer
 with Wood Environmental & Infrastructure Solutions (“Wood”), explained that the risk of an
 uncontrolled release or breach from the site was elevated due to the deteriorating liner conditions
 above the water line, compromised conditions below the water line, and voids in the dikes that
 hold the water at the NGS-S impoundment. This letter and warning were provided to FDEP in
 direct response to FDEP’s request for an annual inspection of the system. FDEP later claimed
 this report showed the system to “is generally in good condition” despite the dire warnings from
 the engineer.

 VIII. The Liners at Piney Point Continue to Deteriorate and Threaten Human Health and
       the Environment

         On or about March 25, 2021, HRK reported to FDEP increased flow and conductivity
 measurements in the drains that surround the phosphogypsum impoundments. HRK’s report
 indicated that over a 24-hour period, flow in the buried seepage interceptor drains increased over
 30 gpm without any associated rainfall. Additionally, HRK reported that conductivity
 measurements from the drain system had gone up from previous readings of up to 6,800
 umhos/cm to readings of up to 9,960 on March 25.

         FDEP conducted a site visit that same day. Based on the reported readings and the site
 visit on March 25, FDEP concluded that the NGS-S compartment has a leak below the water
 level in the impoundment. HRK thereafter began transferring water from the 10-acre lined
 process water sump (the LPWS) overnight in order to accommodate the increased drains flows
 that are routinely pumped from the NGS-S drains to the LPWS. At that time, FDEP estimated the
 volume of wastewater in the NGS-S compartment to be approximately 480 million gallons.

         On March 26, FDEP determined that the increased flow in the drains shows that leakage
 emanating from the NGS-S lined compartment was being intercepted by the buried silca-gravel
 drain system that surrounds the system to protect against outward migration of seepage that
 would otherwise impact site groundwater. The drain conductivity on March 26 was 10,520
 umhos/cm, and the drain flow had increased to 215 gpm. At this time, discharges from Piney
 Point into Piney Point Creek began.

        On March 27, drain conductivity increased to 11,440 umhos/cm, and the drain flow
 increased to 216 gpm.

         On March 28, drain flow increased to approximately 236 gpm, and conductivity
 increased to 13,480 cmhos/cm. This conductivity was now approaching the elevated conductivity
 of the wastewater in the NGS-S impoundment. FDEP later reported that a “boil,” or an upwelling
 of water, had been observed along the east wall of the NGS-S, and HRK placed an earthen berm
 to provide initial containment within the stormwater ditch, through which contamination was
 seeping.




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         On March 29, FDEP reported that there was continuous pumping from the drains around
 the NGS-S and that the presence of “boils/openings and associated releases” from the drain
 system into the east and north stormwater ditches mean there was an increase in total drain rates.
 At the location of the drain cleanouts at the northwest corner of the phosphogypsum stack
 system, the water was “pressurized” and discharging at a rate of 50-100 gpm. That polluted
 water was discharging directly into Piney Point Creek, meaning that the system had lost
 containment of its impounded pollution. Piney Point Creek discharges directly into Tampa Bay.

         On March 30, FDEP indicated that the “pressurized” discharge point had increased to 100
 gpm and continued to discharge into Piney Point Creek. Along the northern wall of the NGS-N,
 HRK’s engineer reported that pressure on the wall continued to build despite the drilling of relief
 holes. Consequently, FDEP required additional relief holes to be drilled into the impoundment.
 Later, on March 30, FDEP required HRK to begin emergency discharges through the “east
 siphon” of untreated waste from the impoundment.

         On March 31, the east siphon continued to discharge untreated waste. The seepage
 collection system remained pressurized with underground water flow causing heaving of the
 surface water collection ditch and liner system along the east side of the NGS-S and the north
 side of the NGS-N, causing the continued discharge of untreated wastewater into Piney Point
 Creek. The water chemistry of the pollution being discharged showed a conductivity of 19,240
 umhos/cm and a pH of 5.11; the discharge rate continued to be 100 gpm. Of greatest concern
 was the liner along the “eastern stormwater ditch,” which was bulging from the pressure building
 in the seepage collection system. Later, on March 31, three new boils were identified, one on the
 east face and two that were deliberately created in the northeast quadrant to relieve pressure on
 the toe of the impoundment. At this time, the “east siphon” was discharging 11,000 gpm, or
 approximately 14 million gallons per day, into Tampa Bay. The water quality of the water being
 discharged was 15,330 umhos/cm conductivity and a pH of 4.44. By the end of the day, the three
 “boils” were all “bubbling,” and FDEP stated that the water flow appeared to be static.

         On April 1, FDEP required HRK to complete additional relief punctures along the east
 lined stormwater drain to relief pressure from the seepage collection system and the toe of the
 impoundment; the original boil was still active. By the end of the day, FDEP reported that both
 the east and west siphons would be used to discharge wastewater from the site to relieve
 pressure. FDEP also required five more additional punctures to be made to the east face of the
 phosphogypsum stack, while pressured flow was observed flowing along the east storm water
 ditch liner penetrations.

         By April 2, FDEP reported four boils along the Eastern stormwater ditch form the stack.
 Boils number 6, 7, 9 and the original boil were are still bubbling. There were now five boils
 along the North-Eastern corridor. Boils 4 and 5 were actively running. Process wastewater
 continued to discharge into Piney Point Creek at a rate of 40-50 gpm. Concentrated seepage was
 identified at the southern third of the NGS-S impoundment’s eastern wall discharging at a rate of
 200 gpm, and Boils 4, 5, 6, 8, and 9 were actively bubbling. By the end of the day, a voluntary
 evacuation order, that was put in place for properties immediately adjacent to Piney Point,
 became mandatory due to worsening conditions at the site.




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        On April 3, FDEP reported that the seepage outbreak about a third way up the slope
 continued, and the southern portion of the NGS-S dam (where the seepage was occurring) shifted
 by approximately 10 ft horizontally. Consequently, FDEP evacuated the facility and began
 requesting pumps and hoses to continue discharging the impounded wastewater. Due to the
 worsening conditions and threat of catastrophic collapse, the boils could no longer be evaluated.
 The siphons continued to discharge 24-hours/day.

         By April 5, FDEP had taken emergency efforts to address the uncontrolled flooding from
 the northern toe of the NGS-N. Both siphons were discharging 24,000 gallons/minute from the
 NGS-N directly into Port Manatee. These discharges would continue unabated for days,
 releasing over 215 million gallons of untreated wastewater into Tampa Bay.

         On April 12, FDEP reported that the flow coming from the concentrated seepage located
 on the eastern portion of the impoundment had ceased, and the discharge of wastewater into Port
 Manatee was terminated. FDEP believed that the placement of a 10x10 steel plate on the source
 of the leak on April 10 within the NGS-S caused the boils and pressure release areas to cease
 flowing. FDEP stated that the cause of the leak was Seam 271 in the NGS-S, which was
 confirmed by use of ROV. Observations on April 14, however, showed upwelling in the location
 where relief boils were drilled along the east side of the seepage collection system.

         On April 15, FDEP reported that upwelling continued on the east side of the seepage
 collection system, and that flow velocities remained constant from April 13 onward,
 demonstrating that the steel plate was not a permanent solution.

        By April 20, FDEP reported that the upwelling continued on the east side of the seepage
 system, and that flow velocities continued to remain constant.

         The resulting discharges of nutrient-laden wastewater from Piney Point threatens to
 contribute to Harmful Algae Blooms or “HABs,” in and near Tampa Bay. HABs occur when too
 many nutrients exist within a marine environment, causing the rapid growth of algae, such as
 cyanobacterial “blue-green algae blooms” and Karenia brevis blooms, or “Red Tides.” As the
 algae blooms, it depletes the oxygen in the marine environment, threatening other marine
 species. The algae can also release harmful toxins that cause illness in humans and animals.
 According to the Centers for Disease Control and Prevention, cyanotoxin exposure can cause
 conjunctivitis, rhinitis, earache, sore throat, and swollen lips. Respiratory effects can include
 atypical pneumonia and a hay fever-like syndrome. Exposure can also cause electrolyte
 imbalances, headache, malaise, and muscle weakness/ pain in joints and limbs. Similarly, Red
 Tide produces a neurotoxin called brevetoxin, which can cause respiratory irritation, coughing,
 and more serious illness for people with severe or chronic respiratory conditions such as
 emphysema or asthma. It can also cause neurotoxic shellfish poisoning if consumed in oysters
 and clams. In 2017-2019, a major Red Tide event occurred in Southwest Florida. The 5-county
 region of Sarasota Bay and Tampa Bay experienced devastating effects including the killing of
 thousands of fish, injured dolphins and manatees, and resulting in a major economic downturn
 for an economy partially fueled by tourism dollars.




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         The blend of acidic and nutrient-laden pollution discharged from Piney Point makes it
 very likely that HABs will result. Sampling already conducted by FDEP in the areas receiving
 the discharge from the March-April event show algae blooms. And algae was detected in 12
 water samples taken in Tampa Bay from April 8-14 in response to the wastewater discharge,
 according to an FDEP blue-green algae report. Some samples have also contained trace levels of
 cyanotoxins. The image below depicts the estimated dispersal of the pollution from Piney Point
 as of May 12, 2021




        This concern is especially acute because the 2021 discharge event contained significant
 amounts of nutrients. The introduction of approximately 100,000 bags of fertilizer into Tampa
 Bay will lead to seagrass losses as algae blooms cloud the water column, starving seagrass




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 meadows of the sunlight necessary for photosynthesis. Such seagrasses are the main indicator of
 a healthy marine ecosystem and provide habitat and food for many marine organisms.

                                RCRA LEGAL BACKGROUND

         Enacted in 1976, RCRA is intended to “eliminate[] the last remaining loophole in
 environmental law, that of unregulated land disposal of discharged materials and hazardous
 wastes.” Ecological Rights Found. v. Pac. Gas & Elec. Co., 874 F.3d 1083, 1089 (9th Cir. 2017)
 (quoting H.R. Rep. No. 94-1491, at 4 (1976)) (alterations in original). Like other environmental
 statutes, RCRA contains a citizen suit provision authorizing private citizens to enforce the law,
 including:

        against any person, including the United States and any other governmental
        instrumentality or agency, to the extent permitted by the eleventh amendment to
        the Constitution, and including any past or present generator, past or present
        transporter, or past or present owner or operator of a treatment, storage, or
        disposal facility, who has contributed or who is contributing to the past or present
        handling, storage, treatment, transportation, or disposal of any solid or hazardous
        waste which may present an imminent and substantial endangerment to health or
        the environment[.]

 42 U.S.C. § 6972(a)(1)(B). In light of “RCRA’s broad language and remedial purpose,” courts
 have given this “endangerment provision” an expansive construction. Fresh Air for the Eastside,
 Inc. v. Waste Mgmt. of N.Y., LLC, 405 F. Supp. 3d 408, 439 (W.D.N.Y. 2019); see also
 Simsbury-Avon Pres. Club, Inc. v. Metacon Gun Club, Inc., 575 F.3d 199, 210 (2d Cir. 2009);
 Davis v. Sun Oil Co., 148 F.3d 606, 609 (6th Cir. 1998). Therefore, “if an error is to be made in
 applying the endangerment standard, the error must be made in favor of protecting public health,
 welfare and the environment.” Interfaith Cmty. Org. v. Honeywell Int’l, Inc., 399 F.3d 248, 259
 (3d Cir. 2005) (emphasis added) (citation omitted).

         Under RCRA’s citizen suit provision, a notifying party must typically wait 90 days after
 providing pre-suit notice before filing a complaint alleging an imminent and substantial
 endangerment to health and the environment. 42 U.S.C. § 6972(b)(2)(A). However, “such action
 may be brought immediately after such notification in the case of an action under this section
 respecting a violation of subchapter III of this chapter.” Id.

         Additionally, RCRA prohibits “open dumping.” 42 U.S.C. § 6945(a) prohibits the
 operation of “any solid waste management practice or disposal of solid waste which constitutes
 the open dumping of solid waste.” “Disposal” means “the discharge, deposit, injection, dumping,
 spilling, leaking, or placing of any solid waste . . . into or on any land or water[.]” 42 U.S.C. §
 6903(3). Enforcement of this prohibition is available through RCRA’s citizen suit provision. 42
 U.S.C. § 6972(a)(1)(A). As required by statute, EPA has promulgated criteria under RCRA §
 6907(a)(3) defining solid waste management practices that constitute open dumping. See 42
 U.S.C. § 6944(a); 40 C.F.R. Parts 257 and 258. These regulations prohibit the contamination of
 any underground drinking water source beyond the solid waste boundary of a disposal site. 40
 C.F.R. § 257.3-4(a).



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        The definition of “underground drinking water source” includes an aquifer supplying
 drinking water for human consumption or any aquifer in which the groundwater contains less
 than 10,000 mg/l total dissolved solids. 40 C.F.R. § 257.3-4(c)(4). “Contaminate” means to
 introduce a substance that would cause: (i) the concentration of that substance in the groundwater
 to exceed the maximum contaminant level specified in Appendix I, or (ii) an increase in the
 concentration of that substance in the groundwater where the existing concentration of that
 substance exceeds the MCLs specified in Appendix I. 40 C.F.R. § 257.3-4(c)(2).

 I.     FDEP, HRK, and Port Manatee Are Liable for Contributing to an Imminent and
        Substantial Endangerment to Health and the Environment

         FDEP, HRK, and Port Manatee have violated and remain in violation of RCRA by
 contributing to an imminent and substantial endangerment to health or the environment at the
 Piney Point site. Specifically, Notifying Parties will allege that FDEP and HRK are both a
 “person” that is a “past or present owner or operator of a treatment, storage, or disposal facility,”
 namely Piney Point. 42 U.S.C. § 6972(a)(1)(B). RCRA defines “person” as including a “State”
 and a “political subdivision of a State[.]” 42 U.S.C. § 6903(15). FDEP, through its Director,
 qualifies as both a “State” and a “political subdivision of a State,” and is therefore subject to a
 RCRA citizen suit brought pursuant to 42 U.S.C. § 6972(a)(1)(B). Furthermore, federal law
 authorizes suit against state officials that violate federal law, notwithstanding the eleventh
 amendment. See, e.g., Ex Parte Young, 209 U.S. 123 (1908).

         Notifying Parties will allege that HRK is a past and present owner of a treatment, storage,
 and disposal facility, and will further allege that FDEP, by and through its Director, is also a past
 and present owner and operator of a treatment, storage, or disposal facility. RCRA defines
 “disposal” as used within 42 U.S.C. § 6972(a)(1)(B) as “the discharge, deposit, injection,
 dumping, spilling, leaking, or placing of any solid waste or hazardous waste into or on any land
 or water so that such solid waste or hazardous waste or any constituent thereof may enter the
 environment or be emitted into the air or discharged into any waters, including ground waters.”
 42 U.S.C. § 6903(3). Specifically, Notifying Parties will allege that FDEP, through its Director,
 was the past owner of the Piney Point site between 2001 and 2006. During that time, FDEP and
 its agents investigated the site and made decisions on its “closure plan,” despite possessing prior
 knowledge that aspects of the closure plan were destined for failure, such as the utilization of
 single HDPE liners. HRK is also a past and present owner of the site.

         Notifying Parties will further allege that FDEP, by and through its Director, is a past and
 present operator of Piney Point. FDEP’s status as an operator from 2001-2004 is self-evident, as
 no other entity besides FDEP had control and ownership of Piney Point. After 2004, FDEP’s
 status as an operator is evidenced by, inter alia: (1) the original and Amended Agreement
 between FDEP and HRK, wherein FDEP was expressly allowed to continue its work on its
 flawed closure plans for Piney Point; (2) the fact that the original Agreement between FDEP and
 HRK stated that “HRK was not an owner or operator of the Phosphogypsum Stack System or
 any other part or component at or on the Site, nor was HRK a generator of any Solid Waste or
 Hazardous Substances at or on the Site[;]” (3) FDEP maintained direct control, oversight, and
 had prior approval over all expenditures of the money HRK deposited into an account for certain



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 activities related to Piney Point, as well as prior approval of any of HRK’s plans at the site; (4)
 FDEP’s permitting approvals for the Port Manatee expansion project, express representations 2
 made in the Amended Agreement with HRK, and representations to the Corps that the site was
 suitable for storage of dredged materials from the expansion project; (5) FDEP’s control of
 actions by HRK and others concerning the liner leak, impoundment breach, and massive
 discharge event in 2011; and (6) FDEP’s control of actions by HRK and others concerning the
 liner leak and massive discharge event in 2021.

         Notifying Parties will further allege in the lawsuit that HRK and FDEP, by and through
 its Director, “has contributed and…is contributing to the past or present handling, storage,
 treatment, transportation, or disposal” of solid and hazardous waste. 42 U.S.C. § 6972(a)(1)(B).
 The term “contribution” is a term of art encompassing a measure of control, and has been
 construed to mean “lend assistance or aid to a common purpose,” “have a share in any act or
 effect,” “be an important factor in,” or “help to cause.” Here, Notifying Parties will demonstrate
 that FDEP contributed and continues to contribute to the past and present handling, storage,
 treatment, and disposal of solid and hazardous waste. In particular, FDEP shares in a measure of
 control over the handling, storage, treatment, transportation, and disposal of the waste at Piney
 Point as evidenced by, inter alia: (1) the original and Amended Agreement between FDEP and
 HRK, wherein FDEP was expressly allowed to continue its work on its flawed closure plans for
 Piney Point; (2) the fact that the original Agreement between FDEP and HRK stated that “HRK
 was not an owner or operator of the Phosphogypsum Stack System or any other part or
 component at or on the Site, nor was HRK a generator of any Solid Waste or Hazardous
 Substances at or on the Site[;]” (3) FDEP maintained direct control, oversight, and had prior
 approval over all expenditures of the money HRK deposited into an account for certain activities
 related to Piney Point, as well as prior approval of any of HRK’s plans at the site; (4) FDEP’s
 permitting approvals for the Port Manatee expansion project, express representations made in the
 Amended Agreement with HRK, and representations to the Corps that the site was suitable for
 storage of dredged materials from the expansion project; (5) FDEP’s control of actions by HRK
 and others concerning the liner leak, impoundment breach, and massive discharge event in 2011;
 (6) FDEP’s control of actions by HRK and others concerning the liner leak and massive
 discharge event in 2021; and (7) FDEP agreed to limit HRK’s mortgage payments and delayed
 the maturity on the mortgage note numerous times.

        Finally, Notifying Parties will allege that the MCPA “has contributed and…is
 contributing to the past or present handling, storage, treatment, transportation, or disposal” of
 solid waste and hazardous waste. 42 U.S.C. § 6972(a)(1)(B). In particular, Port Manatee was a


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   See, e.g., Amended Agreement WHEREAS clauses (unnumbered) (“WHEREAS, the storage of dredged materials
 to be generated by MCPA in a fashion consistent with the Operation and Management Plan to be developed and
 approved under Paragraph 9 below will be compatible with the design and purpose of the lined reservoirs
 constructed by the Department and others as part of the Closure of Phosphogypsum Stacks at the Site and will be of
 benefit to the Department”) & Para. 4 (“the Department hereby agrees to modify the Closure plan by eliminating the
 planned future placement of soil cover on the interior lined slopes and bottom areas of the Piney Point
 Phosphogypsum Stack System reservoir compartments as referenced in paragraph 3 of this Amendment and by
 revising reservoir drainage and outlet structure designs for such Phosphogypsum Stack System compartments, as
 part of the work to be performed by the Department under Section III of the Agreement.”).



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 generator of solid waste, in that it created through its dredging process significant volumes of
 dredged material from the Berth 12 expansion that were ultimately deposited by the MCPA at
 Piney Point. Through that process, the MCPA both handled and transported the solid waste that
 is now at issue. The MCPA completed the Berth 12 dredging process despite possessing prior
 knowledge that there were significant environmental and human health risks threatened by using
 Piney Point to store the dredged material.

         Notifying Parties will further allege in the lawsuit that the process wastewater,
 phosphogypsum stacks, dredged material from the Port Manatee expansion project, and
 precipitation that intermixes with these materials constitute “solid waste” under RCRA. “Solid
 waste” is defined as:

        any garbage, refuse, sludge from a waste treatment plant, water supply treatment
        plant, or air pollution control facility and other discarded material, including solid,
        liquid, semisolid, or contained gaseous material resulting from industrial,
        commercial, mining, and agricultural operations, and from community activities,
        but does not include solid or dissolved material in domestic sewage, or solid or
        dissolved materials in irrigation return flows or industrial discharges which are
        point sources subject to permits under section 1342 of title 33, or source, special
        nuclear, or byproduct material as defined by the Atomic Energy Act of 1954, as
        amended (68 Stat. 923) [42 U.S.C. 2011 et seq.]

         The phosphogypsum stacks at Piney Point are a “discarded material…resulting from
 industrial, commercial, [and] mining” operations. The process wastewater stored at Piney Point
 is a “discarded material…resulting from industrial, commercial, [and] mining” operations. The
 dredged materials from the Port Manatee expansion, when deposited at Piney Point, is also a
 “discarded material.” When detained at Piney Point, these discarded solid wastes are not
 “industrial discharges which are point sources subject to permits under section 1342 of title 33.”
 See also 40 C.F.R. § 261.4(a)(2) (Comment: This exclusion applies only to the actual point
 source discharge. It does not exclude industrial wastewaters while they are being collected,
 stored or treated before discharge, nor does it exclude sludges that are generated by industrial
 wastewater treatment.). Upon information and belief, none of these materials are subject to the
 Atomic Energy Act of 1954.

         Notifying Parties will further allege that the comingling of all these wastes render them
 “hazardous waste” as that term is used in RCRA, and therefore subject to the immediate suit
 provision of 42 U.S.C. § 6972(b)(2)(A). By themselves, phosphogypsum stacks and associated
 process wastewater are exempt from regulation under RCRA as hazardous wastes by operation
 of the “Bevill Amendment,” but not from regulation as solid wastes. See, e.g., 40 C.F.R. §
 261.4(b)(7) (preceding title: “Solid wastes which are not hazardous wastes.”) & §
 261.4(b)(7)(ii)(D). However, as FDEP was warned by the Corps over a decade ago, the use of
 Piney Point for the storage of dredged materials will likely cause those materials to intermix with
 the process wastewater and phosphogypsum stacks. In particular, the Corps warned that:

        Water from rain and the placement of dredged slurry could percolate into the
        phosphogypsum stack releasing leachate that could be corrosive and toxic. If



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        leachate meets the characteristics according to 40 CFR 261.22 and 40 CFR
        261.24, then the leachate would be designated as hazardous waste. Then the
        mixture of a solid waste, with hazardous waste is considered a hazardous waste.
        The addition of dredged material to a hazardous waste will increase the
        probability of contaminating the surrounding surface and groundwater.

         The Corps’ fear has become reality. FDEP knew, or should have known through the
 exercise of reasonable care and due diligence, that single HDPE liners were not appropriate to be
 used at Piney Point. FDEP’s contractors informed FDEP that similar liners and similar facilities
 had failed prior to FDEP’s approval of storing the dredged materials at Piney Point. FDEP was
 aware as early as 2001 that the phosphogypsum stacks provide an inadequate foundation, due to
 its movement and settling, and the multiple cracks discovered. Upon information and belief, the
 liner breach in 2011 that necessitated discharging millions of gallons of contaminated water
 caused dredged material to leach through the liner and mix with the existing solid waste, creating
 a new waste material that satisfies the regulatory requirements for categorization as hazardous
 waste. Upon information and belief, the liner breach in 2021 that necessitated discharging
 millions of gallons of contaminated water further caused dredged material to leach through the
 liner and mix with the existing solid waste, creating a new waste material that satisfies the
 regulatory requirements for categorization as hazardous waste. Upon information and belief, the
 HDPE liners at Piney Point have been leaking since at least 2011, if not earlier.

         Finally, Notifying Parties will allege in the lawsuit that FDEP, HRK, and MCPA’s
 contributions to the past and present handling, storage, treatment, transportation, and disposal of
 solid and/or hazardous waste “may present an imminent and substantial endangerment to health
 or the environment.” 42 U.S.C. § 6972(a)(1)(B). Courts have “emphasized the preeminence of
 the word ‘may’ in defining the degree of risk needed” to maintain an endangerment claim. Me.
 People’s All. v. Mallinckrodt, Inc., 471 F.3d 277, 288 (1st Cir. 2006). The word “may,”
 combined with the word “endangerment,” contemplates only “a threatened or potential harm, and
 does not require proof of actual harm.” Parker v. Scrap Metal Processors, Inc., 386 F.3d 993,
 1015 (11th Cir. 2004); see also Mallinckrodt, 471 F.3d at 296. The words “imminent” and
 “substantial” have similarly broad meanings. “Imminence generally has been read to require only
 that the harm is of a kind that poses a near-term threat; there is no corollary requirement that the
 harm necessarily will occur or that the actual damage will manifest itself immediately.”
 Mallinckrodt, 471 F.3d at 288 (citing Cox v. City of Dallas, 256 F.3d 281, 299-300 (5th Cir.
 2001)). Finally, an endangerment is “substantial” when “there is reasonable cause for concern
 that someone or something may be exposed to risk of harm” absent remedial action. Burlington
 N. & Santa Fe Ry. Co. v. Grant, 505 F.3d 1013, 1021 (10th Cir. 2007). Where all elements are
 present, courts have “broad authority. . . to grant all relief necessary to ensure complete
 protection of the public health and the environment.” Little Hocking Water Ass’n, Inc. v. E.I. du
 Pont Nemours & Co., 91 F. Supp. 3d 940, 952 (S.D. Ohio 2015) (internal quotations and citation
 omitted); see also Meghrig v. KFC W., Inc., 516 U.S. 479, 479 (1996).

        In connection with the most recent liner breach, FDEP publicly acknowledged that the
 Piney Point storage facilities present an imminent and substantial endangerment to health and the
 environment:




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        The conditions being reported as of March 29, 2021, appear to indicate an
        imminent threat of a potential loss of containment and a catastrophic release of
        from portions of the stack systems and its impoundments… Failure of the NGS-S
        lined compartment, containing ~ 480 MGal of a mixture of seawater and process
        water, along with phosphogypsum embankment materials would likely result in
        flooding. Flooding may occur, either to the south across Buckeye Road, and
        would require evacuation of residential areas further south of Buckeye Road, or if
        a failure were to occur along the eastern wall of the NGS-S, it would likely impact
        property east of the site including a Williams Gas Company natural gas
        compressor station. An uncontrolled failure and release impacting the integrity of
        the NGS-S compartment would release the nutrients into freshwater systems
        leading from the Site prior to the drainage entering Bishop Harbor, an OFW that
        south and east of the Piney Point Site… The ongoing leak at the Site and the
        resulting pressures that are impacting the drains surrounding the Site’s
        phosphogypsum stack system could also threaten the integrity of the Stack
        System along the northern wall at the toe of the NGS-N lined pond that contains
        an additional 240 MGal of process water. While the conductivity of that water is
        less than the conductivity of the leaking NGS-S compartment, the water quality in
        the NGS-N is generally closer to aged process water in its other water quality
        parameters and presents potentially a greater acute water quality impact to Bishop
        Harbor and Tampa Bay, if discharged in an uncontrolled fashion due to failure of
        the Site’s stack system.

 Notifying Parties will allege in the lawsuit that a catastrophic failure of stack system at Piney
 Point may present an imminent and substantial endangerment. Such failure would cause the
 uncontrolled release of toxic and radioactive pollution, along with significant devastation to
 public and private property caused by millions of gallons of wastewater being suddenly released
 from the site.

        Notifying Parties will further allege that Piney Point may also present an imminent and
 substantial endangerment due to, inter alia:

        1. FDEP’s decision(s) in its closure plan to use single HDPE liners at Piney Point, when
           FDEP knew or should have known through the exercise of reasonable care and due
           diligence that such liners had failed at other similar phosphogypsum stacks being
           monitored by FDEP’s own contractor, Ardaman;
        2. FDEP’s decision(s) in its closure plan to use single HDPE liners at Piney Point, when
           FDEP knew or should have known through the exercise of reasonable care and due
           diligence that the phosphogypsum stack is not an engineered structure, meaning that
           it was an inadequate and dangerous foundational material upon which HDPE liners
           could be placed;
        3. FDEP’s decision(s) in its closure plan to use single HDPE liners at Piney Point, when
           FDEP knew or should have known through the exercise of reasonable care and due
           diligence that the existing erosional features, vertical cracks, existence of whirlpools,
           and other information identified in its 2001 Geotechnical Study meant the site was




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             compromised and could not be returned to beneficial use even if HDPE liners were
             installed;
        4.   FDEP’s and MCPA’s decision(s), permitting, regulatory approval, and
             representations that the Piney Point site’s impoundments, including the NGS-N and
             NGS-S, were appropriately designed and engineered to store dredged material from
             the Port Manatee expansion project, especially in light of the Corps’ stated concerns;
        5.   Liner breaches occurring in 2011 and 2021 caused precipitation, dredged materials,
             and process wastewater to comingle and intermix with phosphogypsum stack
             material, creating a toxic leachate that satisfies the regulatory requirements for
             classification as a hazardous waste;
        6.   FDEP’s decision(s) to continue to approve the use of Piney Point for the storage of
             dredged materials when FDEP knew, or should have known through the exercise of
             reasonable care and due diligence, that the site presented unacceptable risks of
             failure; and
        7.   FDEP and HRK’s knowledge that the monitoring wells at Piney Point have shown
             consistent violations of the regulatory groundwater quality standards and demonstrate
             that dangerous levels of pollution have migrated into the underlying aquifer, putting
             the environment and human health at grave risk.

         Notifying Parties will also allege that Piney Point presents an imminent and substantial
 endangerment by releasing, leaking, leaching, or otherwise causing solid and hazardous waste to
 enter groundwaters, where it is then transported off-site into nearby groundwaters and the
 underlying aquifer. FDEP requires routine groundwater sampling from wells located around the
 perimeter of the Piney Point site. The past and present groundwater sampling results from the
 monitoring wells indicates significant levels of pollution – in excess of regulatory groundwater
 quality standards – are being released from Piney Point into the underlying aquifer, where it
 impacts both the environment and human health, for there are hundreds of homes in the
 surrounding area that make use of the underlying aquifer for domestic water use.

         Finally, Notifying Parties will allege that FDEP’s transportation and disposal of solid
 waste through discharging millions of gallons of untreated wastewater presents an imminent and
 substantial endangerment by threatening to cause widespread algae blooms and red tide. The
 nutrient-laden water discharged on FDEP’s authority into Tampa Bay and elsewhere creates an
 environment in which harmful algae will thrive. The harmful toxins produced as a result of this
 algae bloom threatens severe human health consequences, as well as harm to the environment, as
 evidenced by the large quantity of marine wildlife that is killed during red tide events – wildlife
 such as fish, manatees, and dolphins. See 40 C.F.R. § 257.1 (defining “which solid waste
 disposal facilities and practices pose a reasonable probability of adverse effects on health or the
 environment”); 40 C.F.R. § 257.3-2 (prohibiting solid waste disposal practices which cause or
 contribute to a taking of a threatened or endangered species or resulting in destruction or adverse
 modification of critical habitat). The loss of seagrass further exacerbates this issue, depriving the
 ecosystem of needed habitat and food.

         42 U.S.C. § 6972(a) states that the District Courts of the United States shall have
 jurisdiction to order any person who “has contributed or who is contributing to the past or
 present handling, storage, treatment, transportation, or disposal of any solid or hazardous waste”



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 that presents an imminent and substantial endangerment to health or the environment to take
 such action as may be necessary to cease and correct the pollution. Notifying Parties intend to
 seek legal and equitable relief in their lawsuit, including but not limited to temporary and/or
 permanent injunctive relief, as well as attorneys’ and expert witnesses’ fees, and costs, associated
 with the suit.

         Notifying Parties will also seek to impose remedial injunctive relief that fully abates the
 imminent and substantial endangerment posed by Piney Point to human health and the
 environment. Upon information and belief, FDEP was previously informed that reverse-osmosis
 treatment would effectively treat all wastewater impounded at the site. Notifying Parties will
 seek an order requiring FDEP to institute this technology at the site, as FDEP’s prior “closure
 plan” has been demonstrably inadequate, resulting in liner breaches and massive discharges of
 untreated wastewater.

 II.    FDEP and HRK Are Liable for Violating RCRA’s “Open Dumping” Prohibition

          As described above, 42 U.S.C. § 6945(a) prohibits the operation of “any solid waste
 management practice or disposal of solid waste which constitutes the open dumping of solid
 waste.” “Disposal” means “the discharge, deposit, injection, dumping, spilling, leaking, or
 placing of any solid waste . . . into or on any land or water[.]” 42 U.S.C. § 6903(3). Enforcement
 of this prohibition is available through RCRA’s citizen suit provision. 42 U.S.C. § 6972(a)(1)(A)
 As required by statute, EPA has promulgated criteria under RCRA § 6907(a)(3) defining solid
 waste management practices that constitute open dumping. See 42 U.S.C. § 6944(a); 40 C.F.R.
 Parts 257 and 258. These regulations prohibit the contamination of any underground drinking
 water source beyond the solid waste boundary of a disposal site. 40 C.F.R. § 257.3-4(a). The
 regulations prohibit the discharge of pollutants into waters of the United States in violation of
 CWA Sections 402 or 404. 40 C.F.R. § 257.3-3. Finally, the regulations prohibit facilities or
 practices from causing or contributing to the “taking of any endangered or threatened species of
 plants, fish, or wildlife,” and “shall not result in the destruction or adverse modification of the
 critical habitat of endangered or threatened species.” 40 C.F.R. § 257.3-2.

        The definition of “underground drinking water source” includes an aquifer supplying
 drinking water for human consumption or any aquifer in which the groundwater contains less
 than 10,000 mg/l total dissolved solids. 40 C.F.R. § 257.3-4(c)(4). “Contaminate” means to
 introduce a substance that would cause: (i) the concentration of that substance in the groundwater
 to exceed the maximum contaminant level specified in Appendix I, or (ii) an increase in the
 concentration of that substance in the groundwater where the existing concentration of that
 substance exceeds the MCLs specified in Appendix I. 40 C.F.R. § 257.3-4(c)(2).

         Notifying Parties will allege that FDEP and HRK knew, or should know through the
 exercise of reasonable care and due diligence, that routine groundwater monitoring data from the
 monitoring wells surrounding Piney Point show dangerous levels of pollution have released,
 leaked, or otherwise escaped from the phosphogypsum stacks and into the surrounding
 groundwater. A tabulation of groundwater data obtained from FDEP is attached hereto as Exhibit
 1. That data shows that leakage from Piney Point’s impoundments have violated both the
 maximum pollution limitations contained within the Administrative Agreement between FDEP



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 and HRK, and exceeded the groundwater quality standards identified in 40 C.F.R. Part 257
 Appendix I (Maximum Contaminant Levels).

         As this pollution enters the underlying groundwater, it migrates away and off the Piney
 Point disposal site. Upon information and belief, the predominant groundwater flow at Piney
 Point is from the southeast and toward the northwest, generally flowing to Bishop Harbor and
 Tampa Bay. Historical data from Piney Point evidenced a contamination plume in the surficial
 aquifer that extends beyond the property line of the property downgradient from the
 phosphogypsum stacks along an approximately 3,600-foot section of alignment at the
 northeastern corner of the facility. This contamination plume was found to have elevated sodium,
 sulfate, nutrient, TDS, and radionuclide concentrations.

         Pursuant to 40 C.F.R. § 257.3-4, Notifying Parties will allege in the lawsuit that the
 leakage, seepage, and releases from the Piney Point impoundments have caused dangerous levels
 of pollution to enter the underlying aquifer, where it has and will continue to move off-site and
 “contaminate” underground drinking water sources in violation of RCRA’s open dumping
 prohibition.

         Pursuant to 40 C.F.R. § 257.3-3, Notifying Parties will allege in the lawsuit that FDEP
 and HRK’s decision to discharge millions of gallons of pollution into nearby surface waters
 violates RCRA, because these discharges were not authorized pursuant to a valid and properly
 promulgated National Pollution Discharge Elimination System Permit. Had FDEP and HRK
 implemented proper hazardous waste storage requirements at Piney Point, these discharges
 would not have been required, for the Site would be properly designed and engineered under
 RCRA Subtitle C to make the discharge of solid and hazardous waste unnecessary. This action
 constitutes prohibited open dumping in violation of RCRA.

          Pursuant to 40 C.F.R. § 257.3-2, Notifying Parties will allege in the lawsuit that FDEP
 and HRK’s discharge of millions of gallons of pollution into nearby surface waters violates
 RCRA, because these discharges cause and/or contribute to the taking of endangered and/or
 threatened species of plants, fish, or wildlife, including but not limited to sea turtles and Florida
 manatees, and that these discharges resulted in the destruction and/or adverse modification of the
 critical habitat of endangered or threatened species. This action constitutes prohibited open
 dumping in violation of RCRA.

         42 U.S.C. § 6972(a) states that the District Courts of the United States shall have
 jurisdiction to order any person who “has contributed or who is contributing to the past or
 present handling, storage, treatment, transportation, or disposal of any solid or hazardous waste”
 that presents an imminent and substantial endangerment to health or the environment to take
 such action as may be necessary to cease and correct the pollution. Notifying Parties intend to
 seek legal and equitable relief in their lawsuit, including but not limited to temporary and/or
 permanent injunctive relief, as well as attorneys’ and expert witnesses’ fees, and costs, associated
 with the suit.




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                                 CWA LEGAL BACKGROUND

         Congress enacted the CWA in 1972 in order to “restore and maintain the chemical,
 physical, and biological integrity of the Nation’s waters.” 33 U.S.C. § 1251. The CWA prohibits
 “the discharge of any pollutant by any person” from a point source into navigable waters unless
 allowed by permit. 33 U.S.C. § 1311(a). The Act defines “point source” as “any discernible,
 confined and discrete conveyance, including but not limited to any pipe, ditch, channel, tunnel,
 conduit, well, discrete fissure, container, rolling stock, concentrated animal feeding operation …
 from which pollutants are conveyed.” 33 U.S.C. § 1362(14). “Pollutant” is defined to include
 any “industrial, municipal, and agricultural wastes” discharged into water. 33 U.S.C. § 1362(6).
 CWA jurisdiction extends to “navigable waters,” a phrase defined as “the waters of the United
 States,” id. § 1362(7).

        The CWA is administered through the National Pollutant Discharge Elimination System
 (NPDES) permit program. 33 U.S.C. § 1342. The Environmental Protection Agency (“EPA”)
 may delegate this permitting system to the states. See id. § 1342(b); 40 C.F.R. § 123.61. In 1995,
 EPA delegated the permitting program to Florida. Florida Statutes §403.0885. FDEP NPDES
 permits are issued for a period of five years. See 33 U.S.C. § 1342(b)(1)(B).

         Ongoing violations of the CWA and NPDES permits are enforceable through the CWA’s
 citizen suit provision. 33 U.S.C. § 1365(a); id. § 1365(f) (defining “effluent standard or
 limitation” to include an unpermitted discharge in violation of 33 U.S.C. § 1311(a)). This
 provision requires citizens to send a notice letter to the owners/operators of a violating facility,
 EPA and the Chief Administrative Office of the state water pollution control agency before
 bringing suit. Id. § 1365(b); see also 40 C.F.R. § 135.2. A citizen suit may proceed sixty days
 after the notice letter, unless either EPA or the relevant state has commenced and is diligently
 prosecuting a civil action in federal or state court. 33 U.S.C. § 1365(b)(1)(B).

 I.     FDEP and/or HRK Discharged Pollutants Into Navigable Waters Without A Lawful
        NPDES Permit

         As required by the CWA, this notice letter provides notice of the violations that have
 occurred and continue to occur at Piney Point. At the outset, there is no current, lawful NPDES
 permit for any discharges from the Piney Point site. On October 9, 1999, FDEP issued
 Wastewater Permit No. FL0000124-001 to Piney Point Phosphates, Inc. for “the operation of a
 phosphate fertilizer manufacturing facility including a phosphogypsum stack system and the
 discharge of treated wastewater through two outfalls, 002 and 003. Outfall 002 discharges into
 Piney Point Creek, which empties into Tampa Bay. Outfall 003 discharges into Buckeye Road
 ditch, which flows into Bishops Harbor and then to Tampa Bay.” FDEP File No. FL0000124-
 003-AA, p. 1. That permit had an expiration date of March 25, 2001. Piney Point Phosphates,
 Inc. submitted an application for a renewal of that permit on September 22, 2000. On December
 4, FDEP denied the permit’s renewal. Piney Point Phosphates, Inc. subsequently filed for two
 extensions for its deadline to file an administrative appeal from FDEP’s decision. Piney Point
 Phosphates, Inc. declared bankruptcy on February 8, 2001.




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          By its terms, FL0000124-001 expired on March 25, 2001. There has been no new
 NPDES permit issued in connection with Piney Point since that date. Under FDEP rules, no
 permit “shall be issued for a term of more than five (5) years unless specified by statute, rule, or
 order of the Department.” Florida Rule 62-4.00(4); Florida Rule 62-620.320(8); Florida Statute
 §403.0885(3) (application for NPDES permit must be granted or denied “in compliance with 40
 C.F.R. part 124, subpart A”). At no point has FDEP administratively extended FL0000124-001.
 Most importantly, FDEP denied Piney Point Phosphate’s renewal application. Pursuant to
 Florida Rule 62-4.090, “Renewals,” if a renewal application is timely, the permit shall remain in
 effect until it has been acted upon by FDEP. See also Florida Statute §403.0885(3) (“upon timely
 application for renewal, a permit issued under this section shall not expire until the application
 has been finally acted upon or until the last day for seeking judicial review of the agency order or
 a later date fixed by order of the reviewing court.”). Here, FDEP did act upon the permit – it
 denied its renewal – and at no point did Piney Point Phosphates, Inc. timely challenge that denial
 in an administrative appeal. See also Florida Rule 62-620.335(3). Because the NPDES Permit
 expired over 20 years ago, all discharges from the Piney Point facility to waters of the United
 States thereafter were unpermitted.

         Four years later, CDM Constructors entered into a contract with FDEP concerning
 closure of the phosphogypsum stacks. On March 30, 2005, FDEP entered into an
 “Administrative Agreement” with CDM, and as part of that agreement, FDEP purportedly
 “transferred” the now-expired FL0000124-001 to CDM. FDEP made clear that the NPDES
 Permit was separate and distinct from the Administrative Agreement with CDM, which “was to
 remain in effect until [FDEP] took final agency action on the issuance of the NPDES permit.”
 FDEP File No. FL0000124-002-AA, p. 2. This “transfer” also violated Florida Rules for the
 transfer of permits. Florida Rule 62-4.120 (requiring permit transfer applications to be made
 within 30 days “after the sale or legal transfer of a permitted facility”); Florida Rule 62-
 620.340(2)(a) (same); 40 C.F.R. § 122.61. Here, there was never a timely or lawful transfer of
 the NPDES permit from Piney Point Phosphates, Inc. to FDEP. Nor could there be, given that
 FDEP denied the permit renewal application. In sum, FDEP purported to transfer a NPDES
 permit that was long-since expired and had no legal force or effect. 3

         Then, on September 8, 2009 – more than eight years after FDEP denied reissuance of the
 NPDES permit – FDEP purportedly transferred the still-expired NPDES permit from CDM to
 HRK. FDEP File No. FL0000124-003-AA. This transfer of an expired permit was unlawful for
 the same reasons described above with respect to the CDM transfer. According to public records,
 on September 28, 2009, HRK submitted a permit renewal application. Thereafter FDEP made
 four Requests for Additional Information and ultimately deemed the permit renewal application
 to be complete on July 9, 2010, with an expected final issuance date of November 18, 2010.
 Importantly, FDEP took no further action on HRK’s NPDES permit application. And at no point
 was the public notified about this transfer and later renewal application, thwarting the CWA’s
 goal of encouraging public participation in permitting discharges to navigable waters.




 3 Indeed, the Administrative Agreement with CDM was amended in July 2006 by mutual consent

 of the parties. Lawfully promulgated NPDES Permits may not be amended in such a fashion.


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        Instead, on January 28, 2011, FDEP entered into an Administrative Agreement with HRK
 FL0000124-003-AA, similar to the Administrative Agreement it previously had with CDM
 (FL0000124-002-AA). As with the CDM Administrative Agreement, FDEP identified the
 NPDES permit as separate and distinct from the Administrative Agreement, which permit “will
 continue in-force until [FDEP] takes Final Agency Action on re-issuance of the NPDES
 Wastewater Permit No. FL0000124.” This Agreement, like the prior Agreement with CDM,
 ignored that FDEP already had taken final agency action on the permit – it denied its renewal ten
 years prior.

         Upon information and belief, FL0000124-003-AA has remained in effect between FDEP
 and HRK for approximately a decade, without amendments. While the CDM and HRK
 Administrative Agreements appear to contain provisions that mimic an NPDES permit, by their
 own terms the Administrative Agreements are not NPDES Permits.4 Indeed, at no point since
 FDEP denied the permit reissuance application 20 years ago has FDEP reevaluated any
 provisions of the Administrative Agreements for compliance with the CWA’s technology-
 forcing requirements or water-quality based effluent limitations, nor has it required any new best
 management practices. See 40 C.F.R. § 122.43(b)(2) (“New or reissued permits, and to the extent
 allowed under § 122.62 modified or revoked and reissued permits, shall incorporate each of the
 applicable requirements referenced in §§ 122.44 and 122.45.”); 40 C.F.R. § 122.44 (establishing
 limitations and standards for permit conditions); 40 C.F.R. § 123.25(a) (authorizing states to
 impose more stringent requirements on NPDES permits, but not lesser than the requirements
 created by EPA in the Code of Federal Regulations); id. § 123.25(a)(15)-(16) (requiring NPDES
 permits to include conditions for technology-based effluent limitations and/or water-quality
 based effluent limitations). FDEP also has never followed the required process for NPDES
 permit issuance set forth in the November 30, 2007 Memorandum of Understanding between
 EPA and FDEP, and the HRK Administrative Agreement has existed for a decade, well beyond
 the five-year period required under NPDES regulations and Florida Statute §403.0885.

        Finally, the “Administrative Agreements” specifically authorized amendments to the
 terms of the Agreement upon “mutual consent of the parties.” Such a provision further
 demonstrates that the Administrative Agreements are not lawfully promulgated NPDES permits,
 which require that “the terms, conditions, requirements, limitations and restrictions set forth” in a
 NPDES permit “are binding and enforceable[.]” Florida Rule 62-4.160; see also Florida Statute §
 403.088(c) (specifying permit terms, nowhere allowing modification of terms when regulator
 and regulated party agree); Florida Rule 62-620.610(1) (terms are “binding and enforceable”).
 The record is quite clear that the HRK Administrative Agreements with CDM and HRK
 (FL0000124-002-AA and FL0000124-003-AA) are not lawful NPDES permits. NPDES Permit
 FL0000124 expired on March 25, 2001.

        In sum, Notifying Parties will allege that there is no current, lawful NPDES permit
 authorizing discharges from Piney Point, either by HRK or by FDEP. As such, FDEP’s

 4
  Florida Statute §403.0885 makes clear that “the state NPDES permit shall be the sole permit issued by the state
 under this chapter regulating the discharge of pollutants or wastes into surface waters within the state for discharges
 covered by the United States Environmental Protection Agency approved state NPDES program. This legislative
 authority is intended to be sufficient to enable the department to qualify for delegation of the federal NPDES
 program to the state and operate such program in accordance with federal law.”


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 authorization and order to require HRK to discharge millions of gallons of process wastewater
 into Tampa Bay and Piney Point Creek between March 26, 2021 and April 9, 2021 5 is an
 unpermitted discharge in violation of Section 301 of the CWA, 33 U.S.C. § 1311(a), subjecting
 HRK to civil penalties of up to $56,460 per day, per violation, and subjecting FDEP and HRK to
 injunctive relief to immediately abate the cause(s) of the discharge. Under the CWA, the outfalls
 to which discharges occurred are “point sources,” because they are discernible, confined, and
 discrete conveyances of pollution to surface waters. 33 U.S.C. § 1362(14). The receiving waters
 are “navigable waters” under the CWA. Id. § 1362(7) (“navigable waters” means the Waters of
 the United States, including the territorial seas); id. § 1362(8), (9). The wastewater plainly
 qualifies as a pollutant. Id. § 1362(6) (“pollutant” means “dredged spoil, solid waste, incinerator
 residue, sewage, garbage, sewage sludge, munitions, chemical wastes, biological materials,
 radioactive materials, heat, wrecked or discarded equipment, rock, sand, cellar dirt and industrial,
 municipal, and agricultural waste discharged into water”). The intentional release of the
 wastewater to the outfalls and, later, Tampa Bay, constitutes an actionable “discharge of a
 pollutant” Id. § 1362(12). And without question, HRK and FDEP qualify as “persons” subject to
 CWA strict liability. Id. § 1362(5) (“The term ‘person’ means an individual, corporation,
 partnership, association, State, municipality, commission, or political subdivision of a State, or
 any interstate body.”).

         FDEP is liable under the CWA for the discharge of millions of gallons of dangerous
 pollution because it took actions at the site preceding the discharge that it knew, or should have
 known through the exercise of reasonable care and due diligence, would create an extremely
 high likelihood that unlawful discharges would be required at Piney Point. FDEP was well aware
 of the historic pattern of “decanting” or “controlled releases” from the ponds at this site in 1998,
 2001, 2003 and 2011, which made it entirely foreseeable that controlled releases would continue.
 Indeed, FDEP knew a full year prior to the April 2021 release that the ponds were approaching
 capacity, thus imminently requiring yet more controlled releases. See, e.g., HRK presentation to
 MCPA & Wood letter discussed infra. FDEP is also liable because it had prior knowledge that
 the unlawful discharge was going to occur, and maintained control of the situation, both before,
 during, and after the discharge took place. HRK is liable under the CWA as the owner of the
 point source and the party that physically discharged pollutants into navigable waters.

         Finally, the present conditions at Piney Point – conditions that were created by FDEP’s
 actions as both a prior owner of the site and its decision to approve the use of the site for disposal
 of dredged materials – make it extremely likely that future discharges will be required. The
 impoundments at Piney Point are in a hazardous state, with multiple boils and upwelling near the
 toe of the NGS-S. HRK has publicly stated that the site is presently incapable of detaining all the
 precipitation that will fall on it without making unlawful discharges. Thus, under the Supreme
 Court’s decision in Gwaltney of Smithfield, Ltd. v. Chesapeake Bay Found., 484 U.S. 49 (1987),
 the likelihood of recurring discharges is present, and suit may be properly brought against FDEP
 and HRK.


 5
   Upon information and belief, unlawful discharges occurred every day between March 26 and April 9, 2021.
 Notifying Parties suspect other discharges occurred in the days following April 9 as well, and that other discharges
 from different point sources may have occurred between March 26 and April 9, 2021. Notifying Parties will update
 and supplement this Notice Letter as is appropriate.


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 II.    In The Alternative, HRK Discharged Pollutants In Violation Of Its NPDES Permit
        And Violated the Permit’s Operation & Maintenance Requirements

         As an alternative claim, Notifying Parties will allege that HRK’s discharge of millions of
 gallons of wastewater violated the terms of its NPDES permit. Notifying Parties will further
 allege that HRK violated the Operation & Maintenance Requirement of its NPDES permit.
 While Notifying Parties contend that the “Administrative Agreement” between HRK and FDEP
 is not a lawful NPDES permit for the reasons articulated above, in the event a court of competent
 jurisdiction disagrees, then Notifying Parties will file suit against HRK for violating its permit.

        The Administrative Agreement only authorizes discharges from specific outfalls, and
 only so long as the discharge satisfies the effluent limitations contained in the Administrative
 Agreement. Here, on March 29, 2021, FDEP issued Emergency Final Order No. 21-0323, which
 required HRK to discharge into Port Manatee via the NGS-S “decant structure.” Id. ¶ 19. The
 purpose of the alleged bypass was to avoid the risk of catastrophic release from the
 phosphogypsum stacks.

         State and federal law both define “bypass” as “prohibited.” Florida Rules 62-
 620.610(22)(a); 40 C.F.R. § 122.41(m)(4); 40 C.F.R. § 123.25(a)(12). For a bypass to avoid an
 enforcement action, the permittee must provide prior notice and demonstrate that “[t]here were
 no feasible alternatives to the bypass, such as the use of auxiliary treatment facilities, retention of
 untreated wastes, or maintenance during normal periods of equipment downtime.” Id. (a)(1).

         Notifying Parties will allege in the lawsuit that there were feasible alternatives to the
 bypass discharge, chiefly that HRK and FDEP knew, or should have known through the exercise
 of reasonable care and due diligence, that Piney Point was incapable of detaining the amount of
 precipitation falling at the site.

          HRK’s environmental engineer, Wood, provided a letter to FDEP dated March 13, 2020.
 In that letter, Wood explained that the only method of process wastewater disposal was
 utilization of a spray evaporation system, capable of evaporating 0.2 MGD (million gallons per
 day). The letter further explained that “[r]ecent annual process wastewater balance calculations
 have demonstrated that higher annual discharge rates provided through alternative process
 wastewater treatment and disposal methods will need to be implemented to maintain a net zero
 water balance or to meet site closure target dates[.]” As to the NGS-N, the Wood letter stated
 that HRK notified FDEP in February 2020 that the freeboard elevations of the impoundment
 must be reduced, for a 0.44-inch rainfall event on February 26, 2020 exceeded the temporary
 freeboard level by a tenths of a foot. On a second subsequent inspection by another Wood
 employee, the NGS-N pond was observed operating above the maximum allowable level.
 Consequently, “[g]iven the proximity of the upcoming tropical hurricane season, the current
 pond levels and the potential high risk of an uncontrolled release,” Wood recommended a series
 of alternatives to draw down the impoundment, which should be pursued “immediately and
 simultaneously.”

        Because the capacity limitations at the ponds had caused previous discharges in 1998,
 2001, 2003 and 2011, and in light of the Wood letter, FDEP and HRK knew, or should have



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 known, that the same capacity problems would recur and likely continue the pattern of controlled
 releases. Indeed, this is exactly what happened when FDEP and HRK discharged 215 million
 gallons of pollution in 2021.

          In fact, HRK explicitly warned about this problem in a February 2, 2021 presentation to
 the Manatee County Board of County Commissioners. In that presentation, the representative of
 HRK presented a slide showing that the Piney Point HDPE lined impoundments were at serious
 risk of losing containment, due to the continued precipitation falling on the site and the amount
 of storage used up by the Port Manatee Bert 12 expansion project. The graph below shows the
 condition of the site as of January 31, 2021, and demonstrates that the impoundments were
 losing their ability to detain precipitation since as early as January 1, 2014.



                           1/31/21 COMBINED SITE
                                                                                       ~ 748 MGal,
                                                                                         1/28/2021




        Of the three impoundments HRK utilized for retaining precipitation, the “LPWS” had
 only 6.7% remaining capacity; the NGS-S had 4.9% remaining compacity; and the NGS-N had
 only 3.2% remaining capacity. The presentation concluded that, “Based on current water
 volumes, action is needed ASAP.”

         Upon information and belief, HRK and FDEP possessed other material information
 showing that there were feasible alternatives to the bypass, yet decided not to pursue them.
 Accordingly, while FDEP purported to authorize the “bypass,” the discharge did not comply
 with either Florida statutes or federal regulations for bypass, and is therefore an unlawful
 discharge subject to the CWA’s strict liability scheme under 33 U.S.C. § 1311(a). Notifying
 Parties will therefore seek civil penalties against HRK for each day of discharge from each point
 source between March 26 and April 9, 2021 and for each and every violation of the effluent
 limitations contained in the Administrative Agreement, along with all appropriate legal and
 injunctive relief, as well as attorneys’ fees and costs. Upon information and belief, the discharges


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 between March 26 and April 9, 2021 violated each and every effluent limitation contained within
 the Administrative agreement.

          Furthermore, Notifying Parties will allege that HRK violated its NPDES permit by failing
 to properly operate and maintain the treatment and disposal facilities at Piney Point. Para. 8(a)(1)
 of the NPDES permit requires HRK to “ensure that the operation and maintenance of the
 phosphogypsum stack system during closure and long-term care of this facility is in accordance
 with Rule 62-673, F.A.C.” Para. 8(a)(3) requires HRK to “ensure that all aboveground
 impoundments are operated, maintained and inspected in accordance with Rule 62-672, F.A.C.”
 Florida Rule 62-673.340 states that phosphogypsum stacks “shall be…operated, maintained,
 closed, and monitored throughout its design period to control the movement of waste and waste
 constituents into the environment so that ground water and surface water quality standards and
 criteria of Chapters 62-302 and 62-520, F.A.C., will not be violated beyond the applicable zone
 of discharged specified for the system.” Rule 62-673 also identifies numerous other requirements
 for safe and lawful operation of Piney Point, as does Rule 62-672.

          Upon information and belief, HRK violated and remains in violation of Para. 8(a) of its
 NPDES Permit by failing to adequately ensure that the operation and maintenance of Piney Point
 is compliant with the applicable requirements of Florida Rules 62-672 and 62-673. Ground and
 surface water quality standards have been violated by HRK’s discharge of pollutants far in
 excess of the effluent limitations contained in the NPDES Permit. HRK’s public presentation to
 Manatee County evidencing the lack of available water storage at Piney Point further establishes
 HRK’s violations of this aspect of its Permit. HRK has known about this problem for at least the
 past five years, and yet failed to take any corrective action. Upon information and belief, HRK
 has violated this provision of its NPDES Permit each and every day for the past five years. HRK
 is liable for civil penalties of up to $56,460 for each and every day it violated this provision of
 the NPDES Permit. Furthermore, Notifying Parties will allege these violations are ongoing and
 reasonably likely to continue in the future, as HRK has demonstrated it is incapable of operating
 and maintaining the wastewater infrastructure at Piney Point in a manner that is consistent with
 the aforementioned regulations.

                                  ESA LEGAL BACKGROUND

          Congress enacted the ESA in 1973 to provide “a program for the conservation of …
 endangered species and threatened species” and “a means whereby the ecosystems upon which
 endangered species and threatened species depend may be conserved.” 16 U.S.C. § 1531(b). As
 the first step in the protection of these species, Section 4 of the ESA requires the Secretary to list
 species as “endangered” or “threatened” when they meet the statutory listing criteria. Id. § 1533.
 An “endangered” species is one “in danger of extinction throughout all or a significant portion of
 its range,” and a “threatened” species is “likely to become endangered in the near future
 throughout all or a significant portion of its range.” Id. § 1532(6) & (20).

         Once a species is listed, the ESA provides a variety of procedural and substantive
 protections to ensure not only the species’ continued survival, but also its ultimate recovery.
 “Congress has spoken in the plainest words, making it clear that endangered species are to be
 accorded the highest priorities.” TVA v. Hill, 437 U.S. 153, 155 (1978).



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        Section 9 of the ESA prohibits any “person” from “taking” or causing take of any
 member of an ESA-listed sea turtle species. 16 U.S.C. § 1538; 16 U.S.C. § 1533(d); 50 C.F.R. §
 17.42(b). The term “take” means to “harass, harm, pursue, shoot, wound, kill, trap, capture, or to
 attempt to engage in any such conduct.” 16 U.S.C. § 1532(19).

         “Harm” includes significant habitat modification or degradation where it actually kills or
 injures wildlife by significantly impairing essential behavioral patterns, including breeding,
 feeding or sheltering. 50 C.F.R. § 17.3; Babbitt v. Sweet Home Chapter of Communities for a
 Great Oregon, 515 U.S. 687 (1995). “Harass” is an intentional or negligent act or omission
 which creates the likelihood of injury to wildlife by annoying it to such an extent as to
 significantly disrupt normal behavioral patterns which include, but are not limited to, breeding,
 feeding or sheltering. 50 C.F.R. § 17.3. Courts have recognized that, in addition to past and
 current threats of harm, the “likely” threat of future harm also constitutes “take” under the ESA.
 Marbled Murrelet v. Babbitt, 83 F.3d 1060, 1066 (9th Cir.1996); Loggerhead Turtle v. Cnty.
 Council of Volusia Cnty., Florida, 92 F. Supp. 2d 1296, 1302 (M.D. Fla. 2000).

         The ESA’s legislative history supports “the broadest possible” reading of the prohibition
 against take. Babbitt v. Sweet Home Chapter of Communities for a Great Oregon, 515 U.S. at
 704-05. “Take” includes direct as well as indirect harm and need not be purposeful. Id. at 704;
 see also National Wildlife Federation v. Burlington Northern Railroad, 23 F.3d 1508, 1512 (9th
 Cir. 1994). The take prohibition applies to any “person,” 16 U.S.C. § 1538(a)(1), including state,
 county, or municipal agencies and/or officials in their official capacity. Id. § 1532(13). The ESA
 further makes it unlawful for any person, including agencies and/or officials, to “cause to be
 committed” the take of a species. Id. § 1538(g).

          The ESA authorizes private enforcement of the take prohibition through a broad citizen
 suit provision. “[A]ny person may commence a civil suit on his own behalf to enjoin any person,
 including . . . any . . . governmental instrumentality or agency . . . who is alleged to be in
 violation of any provision of [the ESA] . . . .” Id. § 1540(g). A plaintiff may seek to enjoin both
 present activities that constitute an ongoing take and future activities that are reasonably likely to
 result in take. National Wildlife Fed’n v. Burlington Northern Railroad, 23 F.3d 1508, 1511 (9th
 Cir. 1994). The ESA’s citizen suit provision also provides for the award of costs of litigation,
 including reasonable attorney and expert witness fees. 16 U.S.C. § 1540(g)(4).

         The take prohibition applies to any “person,” defined as “an individual, corporation,
 partnership, trust, association, or any other private entity.” 16 U.S.C. §§ 1538(a)(1), 1532(13). It
 applies even if there is no intent to harm or harass and regardless of whether the impact is direct
 or indirect. Babbitt v. Sweet Home Chapter of Communities for a Great Or., 515 U.S. 687, 704-
 05 (1995). An individual who harms a listed species by modifying or degrading its habitat
 commits a “take” in violation of Section 9 of the ESA. Id. at 708.

         Section 10 of the ESA provides a means for ensuring compliance with the prohibitions in
 Section 9 of the Act. Section 10 is applicable to the activities of non-federal entities such as the
 DEP. The primary mechanism for avoiding liability under Section 9 is to apply for and receive
 an incidental take permit (“ITP”). Id. § 1539(a)(1)(B). In exchange for permission to “take” a
 listed species pursuant to an ITP, the permit applicant must commit to implement a plan that
 “conserv[es]” – i.e., facilitates the recovery of – the species. Id. §§ 1539(a)(1)(B), (a)(2)(A); see


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 also Sierra Club v. U.S. Fish and Wildlife Serv., 245 F.3d 434, 441-42 (5th Cir. 2001)
 (“‘[c]onservation’ is a much broader concept than mere survival” because the “ESA’s definition
 of ‘conservation’ speaks to the recovery of a threatened or endangered species” (emphasis
 added)). This plan is called a Habitat Conservation Plan (“HCP”) and it must delineate “the
 impact which will likely result from such taking” and the “steps the applicant will take to
 minimize and mitigate such impacts . . . .” 16 U.S.C. § 1539(a)(2)(A).

 I.      FDEP Authorized the Discharge of Water Harmful to Listed Species into Tampa
         Bay

         Pursuant to the EO, FDEP authorized HRK to discharge up to 480 MG of water from
 NGS-S to Tampa Bay. This water contained process wastewater and water from the 2011 dredge
 project. Prior to discharge, the water tested 160 mg/L of total phosphorous, 230 mg/L of total
 nitrogen, and a pH of 4.7-5.3 s.u. The applicable lower pH standard for marine waters is 6.5. The
 total ammonia nitrogen of the discharged water also exceeded marine water quality standards. A
 discharge from Piney Point in 2004 triggered a macro algae bloom in Bishop Harbor.6 It has
 been projected that the 2021 Piney Point discharge will trigger HABs, including red tides or
 blue-green algae blooms. Such HABs can directly kill and injure listed species as well as
 diminish or eliminate seagrass and other important food for listed species.

         A.       Blue-Green Algae, Cyanobacteria Harm Listed Species
       Cyanobacteria, particularly microcystis aeruginosa has been correlated with nitrogen and
 phosphorous, and toxic strains may have higher nitrogen and phosphorous requirements. 7
 Exposure of Microcystis aeruginosa to saltwater may increase its toxicity. 8

         These cyanobacteria, or blue-green algae as they are commonly known, are hepatoxins
 and have been linked to poisoning and cancer. 9 According to one leading expert, “[c]yanotoxins
 are among the most potent toxins known, far more potent than industrial chemicals.” 10 The non-
 protein amino acid, beta-N-methylamino-L-alanine (BMAA), is a cyanobacteria-derived toxin
 that has been linked to neurodegenerative diseases like ALS (Amyotropihc Lateral Sclerosis) and




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   Balut, D. 2004. Piney Point dumping causes algae bloom in Bishop Harbor. WTSP. Feb. 12, 2004.
 https://www.wtsp.com/article/news/local/piney-point-dumping-causes-algae-bloom-in-bishop-harbor/67-
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   Cessa, M. (ed). 2014. Beaches: Erosion, Management Practices and Environmental Implications. Environmental
 Health-Physical, Chemical and Biological Factors.
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   Rosen, B.H. et al. 2018. Understanding the effect of salinity tolerance on cyanobacteria associated with a harmful
 algal bloom in Lake Okeechobee, Florida: U.S. Geological Survey Scientific Investigations Report 2018-5092, 32 p.
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   A hepatoxin is a toxic chemical that damages the liver. Zanchett, G. and Oliveira-Filho, E.C. 2013. Cyanobacteria
 and Cyanotoxins: From Impacts on Aquatic Ecosystems and Human Health to Anticarcinogenic Effects. Toxins
 2013, 5.
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    Hudnell, K. 2009. Congressional Testimony.


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 Parkinsonism Dementia Complex (ALS/PDC).11 Most cyantobacteria produce BMAA.12 People
 near blue-green algae blooms likely inhale the toxins deep into their lungs.13 BMAA can
 biomagnify up some food chains and may pose an increasing human health risk. 14 BMAA
 biomagnification has been recorded in cyanobacteria to cycads to fruit bats, feral pigs, and flying
 squirrels.15 The Chamorro of Guam, who consumed the bats, pigs and squirrels had a 100-fold
 increase in ALS/PDC.16 The Chamorro who died of these neurodegenerative diseases as well as
 Canadian patents with Alzheimer’s disease had high concentrations of BMAA. 17 There is
 concern that people exposed to waterborne BMAA may have an increased risk of
 neurodegenerative disease. 18

         BMAA concentrations of animals exposed to cyanobacteria have been observed in
 Florida.19 Bottlenose dolphins can eat similar diets to humans (fish and crustaceans), and those
 that have died in the Indian River Lagoon have similar concentrations of BMAA in their brains
 as humans that have died of neurodegenerative diseases.20 Impacted wildlife in Florida have been
 found to have similar concentrations of BMAA as in impacted wildlife in Guam. 21 Even coral in
 Florida are being overgrown by cyanobacteria and cyanobacterial diseases. 22

         As of April 21, 2021, FDEP had detected up to 0.38 ppb of cyanotoxins,23 and it was
 reported that FDEP detected cyanotoxins in water samples in Tampa Bay “increasing chances
 that the discharge at Piney Point will trigger a blue-green algae bloom.”24

 11
    Banack, S.A. et al. 2010. The Cyanobacteria Derived Toxin Beta-N-Methylamino-L-Alanine and Amyotrophic
 Lateral Sclerosis Toxins 2010, 2, 2837-2850; doi: 10.3390/toxins2122837; Bienfang, P.K. et al. 2011. Prominent
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    Brand, L. et al. 2010. Cyanobacteria Blooms and the Occurrence of the neurotoxin beta-N-methylamino-L-alanine
 (BMAA) in South Florida Aquatic Food Webs. Harmful Algae. 2010 Sept. 1; 9(6): 620-635;
 doi:10.1016/j.hal.2010.05.002 (Brand 2010).
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    Williams, A. 2018. Algae toxins are airborne and can reach deep into human lungs, FGCU research shows. Fort
 Myers News-Press. Nov. 27, 2018.
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    Cox, P.A. and O.W. Sacks. 2002. Cycad neurotoxins, consumption of flying foxes, and ALS-PDC disease in
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    Pablo, J. et al. 2009. Cyanobacterial neurotoxin BMAA in ALS and Alzheimer’s disease. Acta Neurol Scand.
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    Metclaf, J. and G. Codd. 2009. Cyanobacteria, neurotoxins and water resources: Are there implications for human
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    Paul, V.J. et al. 2005. Benthic cyanobacterial bloom impacts the reefs of southern Florida (Broward County,
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    https://protectingfloridatogether.gov/PineyPointUpdate.
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    Shedden, M. 2021. Heightened Blue-Green Algae Levels Found in Waters Near Piney point. WUSF.
 https://wusfnews.wusf.usf.edu/environment/2021-04-17/heightened-blue-green-algae-levels-found-in-waters-near-
 piney-point.


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          B.       Red Tide, Brevetoxin Harm Listed Species
        Red tide has been called “one of the most common chemical stressors impacting South
 Florida coastal and marine ecosystems,” 25 and studies suggests that nutrients including
 phosphorous and nitrogen from discharges as well as biomass killed by cyanobacteria can
 energize or reawaken red tide. 26 Red tide is caused by the dinoflagellate Karenia brevis which
 produces brevetoxins which kill fish, 27 make filter-feeding fish extremely toxic to other animals,
 and cause respiratory and intestinal distress in humans.28 Red tide has also been linked to land
 mammal and bird mortality,29 and can bioaccumulate.30 Exposed fish and seagrasses can

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    Pierce, R.H. 2008. Harmful algal toxins of the Florida red tide (Karenia brevis): natural chemical stressors in
 South Florida coastal ecosystems. Ecotoxicology. 2008 Oct. 17(7): 623-631. Doi:10.1007/s10646-008-0241-x.
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 Rolton, A. et al. 2015. Susceptibility of gametes and embryos of the eastern oyster, Crassostrea virginica, to Karenia
 brevis and its toxins. Toxicon 99 (2015) 6-15; Rolton, A. et al. 2016. Effects of field and laboratory exposure to the
 toxic dinoflagellate Karenia brevis on the reproduction of the eastern oyster, Crassostrea virginia, and subsequent
 development of offspring. Harmful Algae 57 (20016) 13-26; Walsh, J.J. et al. 2009. Isotopic evidence for dead fish
 maintenance of Florida red tides, with implications for coastal fisheries over both source regions of the west Florida
 shelf and within downstream waters of the South Atlantic Bight. Progress in Oceanography 80 (2009) 51-73.
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 accumulate high concentrations of brevetoxins and act as toxin vectors to dolphins and
 manatees.31 People generally do not become aware of its presence until it reaches above 100,000
 cells/l, which is when it leads to fish kills,32 shellfish toxicity, and respiratory distress. 33

        There has been an increase in red tide in southwest Florida since 1954, in abundance and
 frequency.34 Other red tide impacts include paralytic shellfish poisoning, 35 neurotoxic shellfish
 poisoning, ciguatera fish poisoning, fish kills, loss of submerged vegetation, shellfish mortalities,
 and marine mammal mortalities. 36 Brevetoxins are large, lipid soluble molecules that
 bioaccumulate in fatty tissue and are not easily shed or excreted. 37 As a result, sublethal
 concentrations can have lethal consequences. 38 Because k.brevis is a particularly delicate
 dinoflagellate, turbulence can break apart the cells and aerosolize the brevetoxins, which are then
 inhaled and can cause respiratory distress. 39

          Eerera et al. (2011) determined that by rapidly changing salinity to simulate the shift
 from oceanic to coastal conditions, brevetoxin was triggered, showing that brevetoxin production
 can increase dramatically in response to osmotic stress regardless of the initial source of the red
 tide.40 Sources contributing to red tide include nutrients in runoff, iron-rich atmospheric dust,
 dead marine life, and nutrient rich groundwater.41

 At concentrations of >100,000 cells/l, the 12 brevetoxins produced by red tide can and have
 killed marine animals, including fish, sea turtles, manatee, sea birds, and dolphins. 42 Brevetoxins



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    Flewwelling, L. et al. 2005. Red tides and marine mammal mortalities.: Unexpected brevetoxin vectors may
 account for deaths long after or remote from an algal bloom. Nature. 2005. June 9; 435(7043).
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    Gravinese, P. et al. 2018. The effects of red tide (Karenia brevis) on reflex impairment and mortality of sublegal
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    Id.; Fleming, L. 2007. Aerosolized Red-Tide Toxins (Brevetoxins) and Asthma. Chest. 2007. Jan; 131(1): 187-
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 2006. Nov. 7; 111(C11003): 1-46. Doi:10.1029/2004JC002813.
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 Dolphin (Tursiops truncatus) Mortality Events in the Florida Panhandle Region (USA). PLoS ONE 7(8):e42974.
 Doi:10.1371/journal.pone.0042974; Twiner, M. et al. 2011. Concurrent Exposure of Bottlenose Dolphins (Tursiops
 truncatus) to Multiple Algal Toxins in Sarasota Bay, Florida, USA. PLoS ONE 6(3): e17394.
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 from red tide have long been known to cause manatee mortality.43 One study found markedly
 less shrimp and fish activity during red tide. 44 Meanwhile, almost nothing is known about the
 longterm chronic exposure.45

        As of April 21, 2021, FDEP is reporting background to medium levels of red tide in
 Sarasota (100,000-1,000,000 cells/l) and background levels in Hillsborough County. 46

         C.       Harmful Algal Blooms Harm Listed Species

         Red tide and blue-green algae blooms can individually, collectively, and synergistically
 kill marine wildlife, including ESA-listed species like sea turtles and Florida manatees. 47 The
 National Oceanic Atmospheric Administration has collected data on unusual mortality events
 finding that 41 percent of marine mammal deaths 1991-2013 were due to HAB toxin exposure. 48

         There have been numerous descriptions of mammal and bird mortalities associated with
 exposure to cyanobacteria. 49 HABs may have both direct and indirect impacts to fish and wildlife
 from the bottom of the food chain up. 50 Cyanotoxins can influence the structure of zooplankton
 communities and reduce the filtration capacity and survival of offspring. 51 Ingestion of
 microcystins can result in lethal poisoning. 52 Cyanotoxins can also inhibit the growth of
 underwater plants, and adversely affect aquatic invertebrates such as mollusks by reducing food
 intake, filtration, absorption and fecal loss, and the scope for growth. 53

         Fish can be exposed to microcystins while feeding or through the gills during breathing. 54
 Fish in the early life stages are generally more sensitive.55 HABs can result in damage to the
 liver, hearth, kidney, skin, gills, and the spleen. 56 Microcystins can induce disruption of the
 cytoskeletal network of the liver, leading to massive pool of blood, followed by sinusoid


 43
    Kirkpatrick, B. et al. 2002. Florida Red Tides, Manatee Brevetoxicosis, and Lung Models Harmful Algae 2002
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 destruction and ultimately death as a result of hepatic hemorrhaging. 57 HABs can induce high pH
 and ammonia from the decomposition of cyanobacteria, causing damage to fish gills. 58 This gill
 damage may enhance microcystin uptake, leading to liver necrosis.59 Aquatic animals may die as
 a result of toxins from cells or a reduction in the amount of dissolved oxygen from the bloom
 decay process.60

         Cyanotoxins can bioaccumulate in aquatic invertebrates and aquatic vertebrates and
 cyanotoxins may be transported through the food web.61 Cyanotoxins can accumulate in
 zooplankton and aquatic invertebrates, thereby affecting fish that feed on plankton. 62 Piscivorous
 birds in turn consume cyanotoxins in the contaminated fish.63 There has been increasing concern
 about HABs in wildlife refuges and other areas where animals, especially birds, congregate in
 large numbers.64 Meanwhile, from July 2018 - December 6, 2018, 126 bottlenose dolphins have
 been stranded due to exposure to red tide. 65 Certain cyanotoxins, like Microcystis aeruginosa,
 release cellular microcystin into the environment when they reach the marine environment. 66

 Sea turtles

        FWS and NMFS have designated the Northwest Atlantic Ocean Distinct Population
 Segments of loggerhead and green sea turtles as threatened under the ESA. Juveniles and adult
 loggerheads in coastal waters eat mostly bottom dwelling invertebrates such as whelks, other
 mollusks, horseshoe crabs, and other crabs. Green sea turtles eat seagrass and algae.

        The southeastern United States has the world’s largest number of loggerhead nests, with
 90% of nesting in Florida.67 Loggerhead sea turtles nest on and use waters in and near Tampa
 Bay.68



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 Ceriani, S.A. and A.B. Melyan. 2017. Caretta caretta (North West Atlantic subpopulation) loggerhead turtle. The
 IUCN Red List of Threatened Species.
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 The second largest aggregation of green sea turtle nesting is in Florida, 69 and they use waters in
 and nest near Tampa Bay.




 69
      FWC. 2018. Green Turtle Nesting in Florida. (FWC 2018c).


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 On July 10, 2104, FWS and NMFS designated critical habitat for the Northwest Atlantic Ocean
 Distinct Population Segment of the loggerhead sea turtle (Caretta caretta).70




 70
   79 Fed. Reg. 39756, Endangered and Threatened Wildlife and Plants; Designation of Critical Habitat for the
 Northwest Atlantic Ocean Distinct Population Segment of the Loggerhead Sea Turtle, (July 10, 2014); 79 Fed. Reg.
 39356, Endangered and Threatened Species: Critical Habitat for the Northwest Atlantic Ocean Loggerhead Sea
 Turtle Distinct Population Segment (DPS) and Determination Regarding Critical Habitat for the North Pacific
 Ocean Loggerhead DPS, (July 10, 2014).


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         Red tide with concentrations of karenia brevis of at least 100,000 cells/l is the
 concentration at which the Florida Fish and Wildlife Conservation Commission (FWC) believes
 sea turtle mortality due to brevetoxicosis typically begins to occur. It is believed that red tide
 exposure may pose significant implications for immune function in loggerhead sea turtles. 71

 Florida manatee

         The Florida manatee, listed as an endangered species in 1967,72 has continued to suffer
 from habitat loss and unnatural mortalities since the time of its listing. FWS designated critical
 habitat for the Florida manatee in 1976, 73 including in Tampa Bay in Hillsborough, Manatee, and
 Sarasota counties.74

         Manatees rely on seagrass as their primary food source. HABs and poor water quality can
 diminish or eliminate seagrass. Water quality was a primary area of concern for NMFS in
 designating critical habitat. Decreased water transparency caused by suspended sediments, water
 color, and chlorophylls could have significant detrimental effects on the distribution and
 abundance of seagrass. Nutrient over-enrichment can stimulate increased algal growth that may
 smother seagrass, shade rooted vegetation, and diminish the oxygen content of the water. Low
 oxygen conditions have a demonstrated negative impact on seagrasses and associated
 communities.75

       Red tide can cause direct mortality of manatees, but can also cause sublethal impacts.76
 FWC reported that red tide has contributed to the deaths of 207 Florida manatees January-
 December 12, 2018.77 The brevetoxin binds to manatees’ brains, leading to edema and
 hemorrhaging,78 and ultimately leads to their death. 79




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    Walsh, C. 2009. Effects of brevetoxin exposure on the immune system of loggerhead sea turtles. Aquatic
 Toxicology 97 (2010) 293-303.
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    The manatee was originally listed under the Endangered Species Prevention Act of 1966 in 1967. It was later
 listed as endangered species in 1973 under the Endangered Species Act. 12-month Finding on a Petition to Revise
 Critical Habitat for Florida manatee (Trichechus manatus latirostris), 75 Fed. Reg. 1574 (Jan. 12, 2010).
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    Id. at 1574.
 74
    41 Fed. Reg. 41916 (September 24, 1976).
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    65 Fed. Reg. 17788.
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    Walsh, C. 2015. Sublethal red tide exposure in free-ranging manatees (Trichechus manatus) affects the immune
 system through reduced lymphocyte proliferation responses, inflammation, and oxidative stress. Aquatic Toxicology
 161 (2015) 73-84.
 77
    Hagan, A. 2018. Red tide has contributed to the deaths of nearly 190 Florida manatees, FWC says.
 Abcactionnews.com. Oct. 29, 2018; FWC. 2018 Preliminary Red Tide Manatee Mortalities, Jan. 01-Nov. 9.
 Manatees Carcasses Collected Within the Known Red Tide Bloom Boundary.
 78
    Bossart, G. et al. 1998. Brevetoxicosis in Manatees (Trichechus manatus latirostris) from the 1996 Epizootic:
 Gross, Histologic, and Immunohistochemical Features. Toxicologic Pathology.
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 resources: Decadal advancements. Harmful Algae. Vol. 8, Iss. 4; Trainer, V. and D. Baden. 1999. High affinity
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 II.    FDEP, HRK, and MCPA Are Liable for Take of Listed Species

          In view of these myriad ways in which the actions undertaken by FDEP, HRK, and
 MCPA, including but not limited to its authorization for the release of highly hazardous
 materials into the marine environment, pose grave and ongoing threats to manatees and sea
 turtles, FDEP, HRK, and MCPA are in violation of section 9 of the ESA. The actions taken by
 FDEP, HRK, and MCPA are not only likely, but reasonably certain, to foreseeably result in the
 “take” of individual manatees and sea turtles, i.e., by killing them as well as through “harm” and
 “harassment” as defined by the ESA implementing regulations.

         Indeed, authorizing the discharge of nutrient-laden wastewater into areas occupied by
 manatees and sea turtles constitutes a textbook example of harming through “significant habitat
 modification or degradation [that] actually kills or injures wildlife by significantly impairing
 essential behavior patterns, including breeding, feeding, or sheltering.” 50 C.F.R. § 17.3.
 Likewise, FDEP, HRK, and MCPA’s authorization(s), as well as its long history of intentional
 and intentional actions culminating in the current deplorable state of affairs, plainly constitute
 “intentional or negligent act[s] or omission[s] which create[] the likelihood of injury to wildlife
 by annoying it to such an extent as to significantly disrupt normal behavioral patterns,” including
 the use of seagrasses for “breeding, feeding, or sheltering.” Id.


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         FDEP, HRK, and MCPA have never applied for, let alone received, an Incidental Take
 Permit under Section 10 of the ESA. Consequently, the take by FDEP, HRK, and MCPA of
 listed species is unauthorized and these parties are in violation of the ESA.

               PARTIES PROVIDING THIS NOTICE OF INTENT TO SUE

        The names, addresses, and phone numbers of the people giving this Notice of Intent to
 Sue are:

  Center for Biological Diversity                 ManaSota-88, Inc.
  P.O. Box 710                                    419 Rubens Drive
  Tucson, AZ 85702                                Nokomis, FL 34275
  Tel: (520) 623-5252                             Tel: (941) 966-6256

  Our Children’s Earth Foundation, Inc.           Tampa Bay Waterkeeper, Inc.
  1625 Trancas St., #2218                         260 1st Ave S
  Napa, CA 94558                                  Box 226
  Tel: (510) 910-4535                             Saint Petersburg, FL 33701
                                                  Tel: (813) 563-9882
  Suncoast Waterkeeper, Inc.
  3008 Bay Shore Rd.
  Sarasota, FL 34234
  Tel: (941) 202-3182

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                                           CONCLUSION

         We will be available to discuss effective remedies and actions that will assure FDEP,
 MCPA, and HRK’s future compliance with RCRA, CWA, ESA, and all other applicable state
 and federal environmental laws. If you wish to avail yourself to this opportunity and avoid the
 need for adversarial litigation, or if you have any questions regarding this letter, please contact
 the undersigned. If you are or will be represented by an attorney, please also have that attorney
 contact the undersigned.

                                                               /s/ Charles M. Tebbutt
                                                               Charles M. Tebbutt
                                                               Attorney for Notifying Parties

 Other Recipients Receiving This Notice Via Certified Mail, Return Receipt Requested:

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  Mail Code: 1101A                                   Sam Nunn Atlanta Federal Center
  Washington, D.C. 20460                             61 Forsyth Street, SW
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